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                             EXHIBIT 7
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   Deposition Transcript                              Case Number: 0:20-cv-61872-AHS
                                                      Date: July 21, 2022




   In the matter of:


   Dershowitz v Cable News Network, Inc.




   Erin Burnett


                                                            CERTIFIED
                                                              COPY
   Reported by:
   Ellen Sandles

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   Official Reporters


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   (310) 573-8380
   NV: FIRM #108F
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         JULY 21, 2022

   ·1·   ·UNITED STATES DISTRICT COURT
   · ·   ·SOUTHERN DISTRICT OF FLORIDA
   ·2·   ·---------------------------------x
   · ·   ·ALAN DERSHOWITZ,
   ·3
   · ·   · · · · · · · ·Plaintiff,
   ·4

   ·5· · · · · · · vs.· · · · · · · ·No. 0:20-cv-61872-AHS

   ·6
   · · ·CABLE NEWS NETWORK, INC.,
   ·7
   · · · · · · · · · ·Defendant.
   ·8· ·---------------------------------x

   ·9

   10

   11· · · · · · · · DEPOSITION OF ERIN BURNETT

   12· · · · · · · · · ·New York, New York

   13· · · · · · · · · Thursday, July 21, 2022

   14· · · · · · · · · · **CONFIDENTIAL**

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   · ·   ·Reported by:
   23·   ·ELLEN SANDLES
   · ·   ·Stenographic Reporter
   24·   ·Job No. 306736

   25


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   ·1· · · · · · · · · · · ·July 21, 2022
   ·2· · · · · · · · · · · ·10:11 a.m.
   ·3
   ·4· · · · · · · Deposition of ERIN BURNETT, held via
   ·5· ·Zoom Videoconference, before ELLEN SANDLES, a
   ·6· ·Qualified Stenographic Reporter and Notary Public
   ·7· ·of the State of New York.
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   ·1· ·A P P E A R A N C E S:
   ·2
   ·3· · · · ·SCHWEIKERT LAW, PLLC
   ·4· · · · ·Attorneys for Plaintiff
   ·5· · · · · · · 1111 Brickell Avenue, Suite 1550
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   ·7· · · · ·BY:· MARK A. SCHWEIKERT, ESQ.
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   ·9
   10· · · · ·DAVIS WRIGHT TREMAINE, LLP
   11· · · · ·Attorneys for Defendant
   12· · · · · · · 1251 Avenue of the Americas
   13· · · · · · · New York, New York 10020
   14· · · · ·BY:· KATHERINE M. BOLGER, ESQ.
   15· · · · · · · E-mail: katebolger@dwt.com
   16
   17
   18· ·ALSO PRESENT:
   19· · · · ·Kelly Black-Holmes, In-House Counsel, CNN
   20· · · · ·Alan Dershowitz, via Zoom
   21· · · · ·Gary Williamson, Legal Videographer
   22
   23
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   ·1· · · · IT IS HEREBY STIPULATED AND AGREED,
   ·2· ·by and between counsel for the respective
   ·3· ·parties hereto, that the filing, sealing
   ·4· ·and certification of the within deposition
   ·5· ·shall be and the same are hereby waived;
   ·6· · · · IT IS FURTHER STIPULATED AND AGREED
   ·7· ·that all objections, except as to the form
   ·8· ·of the question, shall be reserved to the
   ·9· ·time of the trial;
   10· · · · IT IS FURTHER STIPULATED AND AGREED
   11· ·that the within deposition may be signed
   12· ·before any Notary Public with the same
   13· ·force and effect as if signed and sworn to
   14· ·before the Court.
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   ·1· · · · · · · · · · ·ERIN BURNETT
   ·2· · · · · · · THE VIDEOGRAPHER:· Good morning, we are
   ·3· ·on the record at 10:11 a.m. Eastern time on
   ·4· ·July 21, 2022 to begin the deposition of Erin
   ·5· ·Burnett in the matter of Dershowitz vs. Cable News
   ·6· ·Network Inc. This case is venued in the Florida
   ·7· ·Southern District court, the case number is
   ·8· ·0-20-CV-61872-SINGHAL/HUNT.· This deposition is
   ·9· ·taking place via Zoom videoconference, the legal
   10· ·videographer is Gary Williamson on behalf of
   11· ·STENO, and the court reporter is Ellen Sandles,
   12· ·also on behalf of STENO.
   13· · · · · · · Would counsel please identify
   14· ·yourselves and state whom you represent?
   15· · · · · · · MR. SCHWEIKERT:· Good morning, my name
   16· ·is Mark Schweikert, I represent the plaintiff,
   17· ·Alan Dershowitz.
   18· · · · · · · MS. BOLGER:· Kate Bolger on behalf of
   19· ·CNN, with me in the room and the witness is Kelly
   20· ·Black-Holmes, in-house counsel at CNN.
   21· · · · · · · THE VIDEOGRAPHER:· Would the reporter
   22· ·please swear in the witness?
   23· · · · · · · THE STENOGRAPHER:· The attorneys
   24· ·participating in this deposition acknowledge that
   25· ·I am not physically present in the deposition room

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   ·1· · · · · · · · · · ·ERIN BURNETT
   ·2· ·and that I will be reporting this deposition
   ·3· ·remotely.· They further acknowledge that, in lieu
   ·4· ·of an oath administered in person, I will
   ·5· ·administer the oath remotely.· The parties and
   ·6· ·their counsel consent to this arrangement and
   ·7· ·waive any objections to this manner of reporting.
   ·8· ·Please indicate your agreement by stating your
   ·9· ·name and your agreement on the record.
   10· · · · · · · MR. SCHWEIKERT:· Thank you,
   11· ·Ms. Sandles.· Mark Schweikert, plaintiff's
   12· ·attorney, I agree.
   13· · · · · · · MS. BOLGER:· Kate Bolger, I agree too.
   14· · · · · · · Whereupon,
   15· · · · · · · · · · · ERIN BURNETT,
   16· ·after having been first duly sworn by Ellen
   17· ·Sandles, a Notary Public and Stenographic Reporter
   18· ·within and for the State of New York, was examined
   19· ·and testified as follows:
   20· · · · · · · · · · ·EXAMINATION BY
   21· ·MR. SCHWEIKERT:
   22· · · · Q.· · Good morning.· Could you please state
   23· ·your legal name for the record?
   24· · · · A.· · Sure, my legal name is Erin Isabelle
   25· ·Burnett.

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   ·1· · · · · · · · · · ·ERIN BURNETT
   ·2· · · · Q.· · Have you ever been known by any other
   ·3· ·names?
   ·4· · · · A.· · No.
   ·5· · · · Q.· · Are you currently employed?
   ·6· · · · A.· · Yes.
   ·7· · · · Q.· · Where are you employed?
   ·8· · · · A.· · I am employed by CNN.
   ·9· · · · Q.· · Were you employed by CNN during the
   10· ·calendar year of 2020?
   11· · · · A.· · Yes, I was.
   12· · · · Q.· · What was your employment position
   13· ·during 2020?
   14· · · · A.· · I am an anchor, and I think chief
   15· ·economics and business correspondent is my exact
   16· ·title, but I basically anchor my own program
   17· ·called "Erin Burnett Out Front," and I did in
   18· ·2020.
   19· · · · Q.· · Do you consider your role as an anchor
   20· ·to be equivalent to a journalist?
   21· · · · A.· · Yes, I do.
   22· · · · Q.· · What is your current salary today?
   23· · · · · · · MS. BOLGER:· Objection to the form.
   24· ·The question of Ms. Burnett's salary is not at
   25· ·issue, she is not one of the speakers of the

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·allegedly defamatory statements, I am going to
    ·3· ·instruct the witness not to answer that question.
    ·4· · · · · · · MR. SCHWEIKERT:· I will note that the
    ·5· ·credibility of a witness is always at issue in
    ·6· ·every case, and in every case compensation being
    ·7· ·paid to a witness who is testifying on behalf of
    ·8· ·an employer is evidence from which a reasonable
    ·9· ·person could make a credibility determination.                     I
    10· ·am not aware of any privilege that applies, but I
    11· ·understand you are instructing the witness not to
    12· ·answer a fundamental question that bears upon her
    13· ·credibility.
    14· · · · · · · Is that right, Ms. Bolger?
    15· · · · · · · MS. BOLGER:· The witness is not going
    16· ·to answer the question.
    17· · · · · · · MR. SCHWEIKERT:· And the privilege,
    18· ·any?
    19· · · · · · · MS. BOLGER:· The witness is not going
    20· ·to answer the question.
    21· · · · · · · MR. SCHWEIKERT:· So there is no
    22· ·privilege, you're just literally instructing this
    23· ·witness not to answer a relevant question
    24· ·regarding her credibility.
    25· · · · · · · MS. BOLGER:· The witness is not going

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·to answer the question.
    ·3· · · · Q.· · How would you describe your job as a
    ·4· ·journalist?
    ·5· · · · · · · MS. BOLGER:· Objection to the form.
    ·6· · · · · · · (Witness doesn't respond.· Ms. Bolger
    ·7· ·instructs her regarding "objection to the form"
    ·8· ·and suggests she can answer the last question.)
    ·9· · · · A.· · Okay.· My job as a journalist is to
    10· ·report the news and bring information to people to
    11· ·inform them.
    12· · · · Q.· · Are you aware of any standards, in
    13· ·general, that apply to the reporting of news by
    14· ·journalists in the United States of America?
    15· · · · · · · MS. BOLGER:· Objection to the form.
    16· · · · A.· · I'm not aware of any overall standards,
    17· ·no.· Our job is to report the news, inform the
    18· ·public and speak truth to power.
    19· · · · Q.· · Truth though is a standard, right?
    20· · · · · · · MS. BOLGER:· Objection to the form.
    21· · · · A.· · Of course.
    22· · · · Q.· · It's not your job to speak lies, is it?
    23· · · · · · · MS. BOLGER:· Objection to the form, you
    24· ·can answer.
    25· · · · A.· · No.

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · Q.· · Were there any standards that CNN asked
    ·3· ·you to abide by with respect to your performance
    ·4· ·of your job as an anchor in January of 2020?
    ·5· · · · · · · MS. BOLGER:· Objection to the form.
    ·6· · · · A.· · CNN has a standards and practices
    ·7· ·booklet which we all always adhere to.
    ·8· · · · Q.· · Are there any standards in that booklet
    ·9· ·that relate to the reporting of news?
    10· · · · · · · MS. BOLGER:· Objection to the form.
    11· · · · A.· · Well, that reporting of news is what we
    12· ·do; so our standards and practices are applicable
    13· ·to the reporting of news, yes.
    14· · · · Q.· · What did you understand to be CNN
    15· ·standards applicable to reporting news on
    16· ·January 29, 2020?
    17· · · · · · · MS. BOLGER:· Objection to the form.
    18· · · · A.· · I guess our job would be to inform the
    19· ·public of the news of the day, and to speak truth
    20· ·to power as I see my job every day; I would have
    21· ·seen it exactly the same on that day as any other.
    22· · · · Q.· · What do you mean by "speak truth to
    23· ·power"?
    24· · · · A.· · Our job, we should be unafraid to speak
    25· ·the truth, to air truth.· Just because someone is

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·powerful doesn't mean that we are cowed by that or
    ·3· ·afraid of that; that's an important role of a
    ·4· ·journalist.
    ·5· · · · Q.· · Any other roles of a journalist you
    ·6· ·believe are important with respect to reporting
    ·7· ·news?
    ·8· · · · · · · MS. BOLGER:· Objection to the form.
    ·9· · · · A.· · I would say what I said before:· Our
    10· ·job is to report news and to inform the public.
    11· · · · Q.· · Does the CNN standards booklet you
    12· ·referenced contain the phrase quote, "speak truth
    13· ·to power," end quote?
    14· · · · A.· · I don't have it in front of me.· That's
    15· ·how I interpret our job.· I don't have the booklet
    16· ·in front of me.
    17· · · · Q.· · What else do you recall being in that
    18· ·booklet during January 2020 that applied to your
    19· ·job as an anchor for CNN?
    20· · · · · · · MS. BOLGER:· Objection to the form,
    21· ·misstates her testimony.· You can answer.
    22· · · · A.· · Again, I don't -- I told you generally
    23· ·how I see our job, right, to inform the public and
    24· ·that's what I would have done every day; that
    25· ·would be consistent with CNN's standards and

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·practices of which the specific details I am not
    ·3· ·going to be able to recall for you any specific
    ·4· ·ones, unless you have them.
    ·5· · · · Q.· · Was one of the standards that in your
    ·6· ·role as an anchor you could inform the public of
    ·7· ·anything that you wanted?
    ·8· · · · · · · MS. BOLGER:· Objection to the form.
    ·9· · · · A.· · I'm not sure I totally understand your
    10· ·question.· We would inform the public about events
    11· ·that happened on that day.
    12· · · · Q.· · During the month of 2020 was one of the
    13· ·standards to report events in a fair and accurate
    14· ·manner?
    15· · · · · · · MS. BOLGER:· Objection to the form.
    16· ·You asked for the month of 2020; that's a year.
    17· ·You might want to clarify that.
    18· · · · Q.· · Was one of the standards that applied
    19· ·on January 29, 2020 to report the news in a fair
    20· ·and accurate manner?
    21· · · · · · · MS. BOLGER:· Objection to the form.
    22· · · · A.· · Yes, I consider my job to be reporting
    23· ·the news in a fair and accurate manner on any day.
    24· · · · Q.· · How do you as a journalist ensure that
    25· ·the news you are reporting is done in a fair

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·manner?
    ·3· · · · · · · MS. BOLGER:· Erin, I am going to give
    ·4· ·you an instruction which is that you may answer as
    ·5· ·to the news gathering for this particular speech
    ·6· ·that is at issue in this lawsuit or you can answer
    ·7· ·as to your general practices.· But you should not
    ·8· ·answer as to the specifics for any story other
    ·9· ·than this one, those specifics would be protected
    10· ·by the news gathering privilege articulated in
    11· ·Florida State statutes, New York State statutes,
    12· ·Florida State Constitution, New York State
    13· ·Constitution and the United States Constitution.
    14· ·So just stick to generalities or the reporting you
    15· ·did for this reporting.
    16· · · · · · · THE WITNESS:· Okay, thank you; I
    17· ·understand.
    18· · · · A.· · Mark, do you mind in that context
    19· ·repeating the question please?
    20· · · · Q.· · Sure.· In performing your role as an
    21· ·anchor for CNN on January 29, 2020, what did you
    22· ·do to ensure that news reporting was done in a
    23· ·fair manner?
    24· · · · A.· · On that day, as on any other, I would
    25· ·be abreast of what was happening in the news, I

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    ·2· ·would discuss that with my executive producer and
    ·3· ·senior team, and we would make decisions then
    ·4· ·about what we put in our program.
    ·5· · · · Q.· · Who was on your -- did you say "senior
    ·6· ·team"?· I'm sorry.
    ·7· · · · A.· · Susie Xu is the executive producer.
    ·8· · · · Q.· · Who was on your team for your show Out
    ·9· ·Front on that day?
    10· · · · A.· · The team can change over time, but the
    11· ·person that I would have a direct conversation
    12· ·with would be Susie Xu; so Susie Xu and I would
    13· ·have had direct conversations.
    14· · · · Q.· · Do you recall having direct
    15· ·conversations with Susie Xu prior to your
    16· ·broadcast on January 29, 2020?
    17· · · · A.· · I don't recall the exact conversations,
    18· ·but yes, those conversations would have occurred.
    19· · · · Q.· · So you don't remember anything about
    20· ·any conversations that occurred with the executive
    21· ·producer of your program before you went on air on
    22· ·January 29, 2020, is that right?
    23· · · · · · · MS. BOLGER:· Objection to the form,
    24· ·that's not what the witness said.· You can answer.
    25· · · · A.· · What I said was we would have had

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·conversations because we do every single day about
    ·3· ·the program because that's our job, and I do not
    ·4· ·recall the specific conversations which occurred
    ·5· ·on January 29, 2020.
    ·6· · · · Q.· · So you do not recall the specific
    ·7· ·conversations you had with Susie Xu on January 29,
    ·8· ·2020, correct?
    ·9· · · · A.· · That is correct.
    10· · · · Q.· · Do you recall, in general, the subject
    11· ·matter of any communications you may have had with
    12· ·your executive producer before going on air on
    13· ·January 29, 2020?
    14· · · · A.· · No, prior to this particular case I
    15· ·would not be able to tell you what I talked about
    16· ·on January 29th, I had no recollection at all.
    17· ·Obviously, now I know it was the day of the
    18· ·impeachment proceedings, so I do know what we were
    19· ·talking about, I am aware of that, but that's the
    20· ·best I can answer your question.
    21· · · · Q.· · Without telling me anything that you
    22· ·may have learned from your attorneys, do you have
    23· ·any general understanding of the gist of
    24· ·Mr. Dershowitz's case against CNN?
    25· · · · · · · MS. BOLGER:· Erin, as you saw from

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·Mark's question he's not asking anything you
    ·3· ·learned from me or from Kelly.· You can answer the
    ·4· ·question --
    ·5· · · · A.· · Just so I understand, Mark, your
    ·6· ·question is there anything beyond?· I'm sorry,
    ·7· ·could you ask again?
    ·8· · · · Q.· · When did you first become aware that
    ·9· ·Mr. Dershowitz had filed a lawsuit against CNN
    10· ·with respect to the reporting of news covering the
    11· ·impeachment trial in January of 2020?
    12· · · · · · · MS. BOLGER:· Objection to the form.
    13· · · · A.· · I am not exactly sure -- I would have
    14· ·found out from CNN's attorneys, Mark, at some
    15· ·point.· I don't exactly remember when that was to
    16· ·be frank with you.· I remember getting the call to
    17· ·inform me; but I'm sorry, I don't remember exactly
    18· ·when.
    19· · · · Q.· · Have you ever reviewed the Complaint
    20· ·filed by Mr. Dershowitz in this case?
    21· · · · A.· · No.
    22· · · · Q.· · What do you think this case is about?
    23· · · · A.· · My understanding is it's about the
    24· ·coverage of the impeachment hearing which
    25· ·Mr. Dershowitz was obviously involved with on

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·January 29, 2020.
    ·3· · · · Q.· · Do you have any more specific of an
    ·4· ·understanding that you independently acquired from
    ·5· ·any source other than your attorneys?
    ·6· · · · A.· · No, only from my attorneys.
    ·7· · · · Q.· · Did you do anything to prepare for this
    ·8· ·deposition?
    ·9· · · · A.· · I did, I reviewed the tape from that
    10· ·day from my program.
    11· · · · Q.· · Did you review anything else?
    12· · · · A.· · No, the tape and the transcript that
    13· ·went with that tape.
    14· · · · Q.· · Anything else?
    15· · · · A.· · No.
    16· · · · Q.· · Did you review any portion of
    17· ·Mr. Dershowitz's statements on the floor of
    18· ·Congress during Trump's first impeachment trial in
    19· ·January 2020?
    20· · · · A.· · I have seen that, but I have not read
    21· ·the whole thing.
    22· · · · Q.· · Are you referring to a written
    23· ·transcript of that impeachment proceeding?
    24· · · · A.· · Yes.
    25· · · · · · · MS. BOLGER:· Objection to the form.

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    ·2· · · · Q.· · When do you recall reviewing portions
    ·3· ·of the transcript of the impeachment proceeding in
    ·4· ·January 2020?
    ·5· · · · A.· · Portions of the transcript, just in
    ·6· ·recent days as I knew I was going to be speaking
    ·7· ·with you.· Obviously, the time I would have seen
    ·8· ·what he said was on January 29th, 2020.
    ·9· · · · Q.· · So preparing for the deposition you
    10· ·reviewed the tape of your broadcast, the
    11· ·transcript of your broadcast and portions of the
    12· ·transcript of the Congressional Record.
    13· · · · · · · Is that right?
    14· · · · A.· · Yes.
    15· · · · Q.· · Anything else?
    16· · · · A.· · Not that I recall, those are the key
    17· ·items.
    18· · · · Q.· · Do you have any documents or items in
    19· ·front of you, ma'am?
    20· · · · A.· · I do not, and I do not have those
    21· ·documents here.
    22· · · · Q.· · Do you have a cell phone?
    23· · · · A.· · No, I do not, it's outside the room.
    24· · · · Q.· · Is anybody else present with you in
    25· ·that location from which you are testifying?

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    ·2· · · · A.· · No, not in this room.
    ·3· · · · Q.· · Are you at the office or at home?
    ·4· · · · · · · MS. BOLGER:· You don't need to know
    ·5· ·that Mark, she's by herself in a room.
    ·6· · · · · · · MR. SCHWEIKERT:· Excuse me, Ms. Bolger,
    ·7· ·you insisted adamantly that my client represent to
    ·8· ·you that his wife was not present or listening to
    ·9· ·depositions because allegedly everything that CNN
    10· ·ever does is confidential, and the American public
    11· ·is not entitled to any transparency, and yet now
    12· ·you are telling me that it is inappropriate for me
    13· ·to ask where the witness is located while she is
    14· ·testifying under oath.
    15· · · · · · · Is that literally your position, ma'am?
    16· · · · · · · MS. BOLGER:· Mark, we're not going to
    17· ·do this thing where you yell at me for fun --
    18· · · · · · · MR. SCHWEIKERT:· Yell at you for fun?
    19· ·Your obstruction efforts --
    20· · · · · · · MS. BOLGER:· Erin, if you want to tell
    21· ·Mark where you are that's fine, but obviously do
    22· ·not tell him your address --
    23· · · · · · · MR. SCHWEIKERT:· I didn't ask for an
    24· ·address --
    25· · · · A.· · I am in a house Mark.

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    ·2· · · · Q.· · Okay.· And nobody else is in that room
    ·3· ·in the house with you?
    ·4· · · · A.· · No one else --
    ·5· · · · · · · MS. BOLGER:· Asked and answered.
    ·6· · · · · · · MR. SCHWEIKERT:· Ms. Bolger, please;
    ·7· ·form.
    ·8· · · · · · · MS. BOLGER:· Asked and answered is not
    ·9· ·a form objection.
    10· · · · · · · MR. SCHWEIKERT:· It is an objection
    11· ·that is preserved for trial.· I believe it is a
    12· ·form objection and as I offered, I will stipulate
    13· ·it can come under the umbrella of form, which I
    14· ·believe it falls, so it does not continue to
    15· ·appear that you are trying to improperly coach the
    16· ·witness to respond to my questions by saying
    17· ·things such as "I already answered that" or "you
    18· ·already asked me that," which has occurred on a
    19· ·number of --
    20· · · · · · · MS. BOLGER:· Mark, if you want to speak
    21· ·fine, I'll do that --
    22· · · · · · · MR. SCHWEIKERT:· Would you please let
    23· ·me make my record?· If you need to respond I will
    24· ·give you that courtesy, but this sort of feigned
    25· ·annoyance is not productive, we are officers of

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    ·2· ·the court and I would ask that you conduct
    ·3· ·yourself accordingly.· Just because the judge is
    ·4· ·not present doesn't give you license to behave in
    ·5· ·any manner that you see is fit to disrupt my
    ·6· ·attempt to obtain truthful testimony, which may or
    ·7· ·may not ultimately be admissible.· I am literally
    ·8· ·here to ask questions, and the witness is here to
    ·9· ·answer them.
    10· · · · · · · You have the right to object to the
    11· ·form, you have the right to instruct the witness
    12· ·not to answer based upon privilege, and you may
    13· ·have some other rights under other rules, but to
    14· ·make characterizations about me or attack my
    15· ·integrity as an attorney, as you have done
    16· ·relentlessly throughout the prior depositions, is
    17· ·completely out of bounds, and I want to make sure
    18· ·that does not continue because we still have to
    19· ·complete this deposition followed by another
    20· ·deposition later today.· That's my position.
    21· · · · · · · MS. BOLGER:· Let the record reflect
    22· ·that the plaintiff yelled at me for most of that
    23· ·speech.· Carry on, Mark.
    24· · · · · · · MR. SCHWEIKERT:· The deposition is
    25· ·being videotaped, nobody is yelling, but I am

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    ·2· ·being firm because I am frustrated with the
    ·3· ·continued --
    ·4· · · · · · · MS. BOLGER:· Okay, go on, Mark, are you
    ·5· ·going to ask questions, let's go --
    ·6· · · · · · · MR. SCHWEIKERT:· Can I make my record
    ·7· ·please?
    ·8· · · · · · · MS. BOLGER:· No --
    ·9· · · · · · · MR. SCHWEIKERT:· You just accused me of
    10· ·yelling, and I want to explain that I am
    11· ·frustrated with the egregious, unethical, unlawful
    12· ·conduct you keep displaying just because the judge
    13· ·is not present.· We know you would not even come
    14· ·close to engaging in this behavior in the
    15· ·courtroom -- I would hope, maybe I don't know that
    16· ·-- so please, extend me the professional courtesy
    17· ·that I have done my best to extend you when you
    18· ·took depositions, and that I have tried to extend
    19· ·to the witnesses despite the fact that maybe some
    20· ·of the questions I am asking are difficult or make
    21· ·them uncomfortable.· That's my record.
    22· · · · · · · MS. BOLGER:· Is there a pending
    23· ·question?
    24· · · · Q.· · Aside from the video, the transcript of
    25· ·your broadcast and portions of the Congressional

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    ·2· ·Record, anything else that you reviewed in
    ·3· ·preparing to testify today?
    ·4· · · · A.· · No, not that I recall.· And I am trying
    ·5· ·to rack my brain just to make sure, but no, those
    ·6· ·are the key items as far as I understand them from
    ·7· ·my testimony.
    ·8· · · · Q.· · Aside from your attorneys, did you
    ·9· ·speak with anyone?
    10· · · · A.· · No.
    11· · · · Q.· · Do you recall doing anything on
    12· ·January 29, 2020 to ensure that the news you were
    13· ·planning to report to your audience on your
    14· ·program was accurate?
    15· · · · · · · MS. BOLGER:· Objection to the form.
    16· ·Erin, you are here to answer questions about one
    17· ·segment on your show, not the whole show.· You may
    18· ·answer whatever you can about that one segment on
    19· ·your show, but you're not going to answer any
    20· ·other segments on that day.
    21· · · · A.· · So Mark, I'm sorry can you repeat the
    22· ·exact question again since I now know it's that
    23· ·specific segment?
    24· · · · Q.· · Yes, and just so we are clear going
    25· ·forward, ma'am, I am not interested in anything

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·other than the broadcast or the portion of the
    ·3· ·broadcast with respect to Mr. Dershowitz's
    ·4· ·statements on the floor of Congress.· I may ask
    ·5· ·general questions about other things, but I will
    ·6· ·let you know when I am being general.· To the
    ·7· ·extent that I am referring to a broadcast it will
    ·8· ·be that part of the broadcast, okay?
    ·9· · · · A.· · Yes.
    10· · · · Q.· · Do you recall doing anything to ensure
    11· ·that the news you were going to report on your
    12· ·program on January 29th, with respect to
    13· ·statements Mr. Dershowitz had made to Congress
    14· ·earlier that day, were accurate?
    15· · · · · · · MS. BOLGER:· Objection to the form, you
    16· ·can answer.
    17· · · · A.· · The best I can answer that would be, of
    18· ·course, we always strive to make sure what we do
    19· ·is accurate as journalists; but I do not recall
    20· ·the specific conversations we would have had about
    21· ·the show on January 29, 2020.
    22· · · · Q.· · So, generally then, and without
    23· ·divulging any news gathering unrelated to this
    24· ·case, how would you customarily have tried to
    25· ·ensure that the news being reported on a

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·particular broadcast was accurate?
    ·3· · · · · · · MS. BOLGER:· I think that is a very
    ·4· ·difficult answer to give without invading the
    ·5· ·privilege.· So just please be thoughtful and do
    ·6· ·not give any specifics related to any news
    ·7· ·gathering you have done, you can speak in
    ·8· ·generalities or about the --
    ·9· · · · A.· · Okay.· So Mark, Susie Xu and I would
    10· ·have conversations throughout the day about the
    11· ·program, and the structure of the program and what
    12· ·we include in the program; and that's the main
    13· ·conduit between the two of us.
    14· · · · Q.· · Do you rely on Ms. Susie Xu to help you
    15· ·ensure that the news you're going to report is
    16· ·fair and accurate?
    17· · · · · · · MS. BOLGER:· Objection, asked and
    18· ·answered.· You can answer again.
    19· · · · A.· · Susie Xu and I are very much a team, we
    20· ·are executive producers of the program; so yeah.
    21· · · · Q.· · But her role as an executive producer
    22· ·is different from your role as an anchor, right?
    23· · · · A.· · Well, I feel -- I don't know that the
    24· ·titles matter so much, I think I am executive
    25· ·producer also -- yes, we are a team, we work

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·together; it's a conversation.
    ·3· · · · Q.· · What generally are you customarily
    ·4· ·doing when you are working together to prepare for
    ·5· ·a show that will comport with your standard of
    ·6· ·speaking truth to power?
    ·7· · · · · · · MS. BOLGER:· Objection to the form of
    ·8· ·the question; and again, Erin, if it refers to any
    ·9· ·specifics just this episode and generalities.
    10· · · · A.· · Right.· So in our role of informing the
    11· ·public and as journalists we, like I said, we have
    12· ·conversations throughout the day on what to cover.
    13· ·You're speaking specifically about this day, so we
    14· ·would have been watching the hearings and have had
    15· ·conversations throughout the day as they went on,
    16· ·and we decided how to put our program together.
    17· · · · Q.· · Do you recall any sort of written
    18· ·materials that were prepared and subsequently used
    19· ·by you during that broadcast?
    20· · · · · · · MS. BOLGER:· Objection to the form.
    21· · · · A.· · I do not.· We have scripts which we
    22· ·print out every night -- we have a news program,
    23· ·we will puts scripts in there and print them and
    24· ·hand them to the anchor.· Those are not
    25· ·necessarily adhered to always, right, but that is

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·our standard practice and probably the industry
    ·3· ·standard as well.
    ·4· · · · Q.· · Was there a teleprompter in the studio
    ·5· ·you on the day of the broadcast in question?
    ·6· · · · A.· · I will answer that question; of course
    ·7· ·there was, I don't actually recall it, but yes, as
    ·8· ·standard practice there would be a teleprompter
    ·9· ·and there certainly was on that day.
    10· · · · Q.· · As a brief aside -- I'm not sure how
    11· ·much deposition questions you've had -- but some
    12· ·of my questions might seem silly, but as an
    13· ·attorney I have to do something called "laying a
    14· ·foundation."· I can't just presume that there was
    15· ·a teleprompter --
    16· · · · A.· · I understand.
    17· · · · Q.· · -- so please excuse me if some of my
    18· ·questions seem a little elementary.
    19· · · · · · · Would the script that was prepared for
    20· ·that day appear on the teleprompter?
    21· · · · · · · MS. BOLGER:· Objection to the form.
    22· · · · A.· · It would appear in the teleprompter,
    23· ·and I would have a copy in my hand in most cases;
    24· ·yes.
    25· · · · Q.· · Do you recall who contributed to the

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·writing of the script for that particular
    ·3· ·broadcast?
    ·4· · · · · · · MS. BOLGER:· Objection to the form.
    ·5· ·Again, that is the segment at issue.
    ·6· · · · A.· · I do not recall who would have been a
    ·7· ·part of the segment at issue.
    ·8· · · · Q.· · As a matter of custom around that time,
    ·9· ·would you and Ms. Xu generally collaborate on the
    10· ·scripts for a particular broadcast?
    11· · · · · · · MS. BOLGER:· Objection to the form.
    12· · · · A.· · Yes, we would, in conjunction with
    13· ·segment producers who are assigned to segments;
    14· ·individual segments.
    15· · · · Q.· · Do you know if there was a segment
    16· ·producer assigned to the segment in which
    17· ·Mr. Lockhart appeared and made some comments about
    18· ·Professor Dershowitz?
    19· · · · · · · MS. BOLGER:· Objection to the form.
    20· · · · A.· · So, Mark, I am answering this as best I
    21· ·can.· I would have had no recollection of this in
    22· ·any way, shape or form in our sort of discussions
    23· ·in preparing for this; I believe it may have been
    24· ·Rebecca Samuels, but I am not really the best
    25· ·person to confirm that for you.· I think it may

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    ·2· ·have been, Mark, in discussions preparing to speak
    ·3· ·to you.
    ·4· · · · Q.· · Okay.· Based upon -- is there something
    ·5· ·you're looking at ma'am?
    ·6· · · · A.· · No, I am looking down at my hands --
    ·7· · · · · · · MS. BOLGER:· We've done that already --
    ·8· · · · A.· · -- I have a cup of coffee, I have a
    ·9· ·pencil and I have my reader.
    10· · · · Q.· · Would you mind if you could show me if
    11· ·there is anything on your desk?
    12· · · · · · · MS. BOLGER:· No, there is no reason to
    13· ·be suspicious of the witness.
    14· · · · A.· · There is a pot, Mark, from the kitchen
    15· ·that my thing is resting on.
    16· · · · Q.· · Your lawyer knows that if and when you
    17· ·testify in court you will not be allowed to bring
    18· ·materials to the stand, unless you are provided
    19· ·them by the court --
    20· · · · A.· · Correct.
    21· · · · Q.· · -- and if we were doing this under
    22· ·usual conditions we would all be in the room
    23· ·together and I'd be able to visually observe if
    24· ·there was anything on the table, and I'm just
    25· ·asking for that --

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    ·2· · · · A.· · You have my word that there is no paper
    ·3· ·and there is no cell phone in this room.
    ·4· · · · Q.· · Is there anything else on the table in
    ·5· ·front of you, aside from the device through which
    ·6· ·you are appearing and your coffee mug?
    ·7· · · · A.· · No.
    ·8· · · · · · · MS. BOLGER:· She just literally showed
    ·9· ·you a pencil and a pair of reading glasses, Mark.
    10· · · · Q.· · Aside from you, the executive producer
    11· ·and the segment producer, would it have been
    12· ·customary around that time for anybody else to
    13· ·have provided input in preparing the script for a
    14· ·particular segment of a broadcast?
    15· · · · · · · MS. BOLGER:· Objection to the form.
    16· · · · A.· · That would not have been customary.
    17· · · · Q.· · Were there individuals that are
    18· ·considered writers that worked in connection with
    19· ·your show during that time frame?
    20· · · · · · · MS. BOLGER:· Objection to the form.
    21· · · · A.· · No, the way our show is structured we
    22· ·have a writer, but he would not be involved in a
    23· ·segment.· He writes teases and other things; he
    24· ·would not be involved in the segment, that would
    25· ·be the segment producer as I mentioned.

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    ·2· · · · Q.· · What are "teases"?
    ·3· · · · A.· · The things that you read before you go
    ·4· ·to commercial.
    ·5· · · · Q.· · Do you recall if you had preplanned the
    ·6· ·questions or prompts that you intended to use
    ·7· ·during the segment at issue?
    ·8· · · · · · · MS. BOLGER:· Objection to the form.
    ·9· · · · A.· · So as I said, I don't recall obviously,
    10· ·specifically anything from any given day.
    11· ·Obviously, the customary thing would be that yes,
    12· ·because I am involved in discussions throughout
    13· ·the day about what we're going to include and how
    14· ·we're going to include them, and making sure
    15· ·everybody in a segment is involved in a segment;
    16· ·so yes, I would be involved with that.
    17· · · · Q.· · Were the drafts of the questions
    18· ·customarily included in the script that was
    19· ·typically prepared for a particular broadcast?
    20· · · · · · · MS. BOLGER:· Objection to the form.
    21· · · · A.· · I'm sorry, so you're asking would there
    22· ·be drafts that I would review?· Is that your
    23· ·question?
    24· · · · Q.· · I understand you write a script, and my
    25· ·question is, is part of that script including

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    ·2· ·potential questions to ask a guest for example?
    ·3· · · · · · · MS. BOLGER:· Objection to the form.                     I
    ·4· ·think you guys are talking past each other.
    ·5· · · · A.· · Mark, we would discuss what we wanted
    ·6· ·to put in, we would know in this case who the
    ·7· ·panelists are, and we would create a conversation;
    ·8· ·each of those panelists are chosen for their
    ·9· ·expertise relevant to the issue at hand.· That
    10· ·would be true in any case and certainly true in
    11· ·this one.
    12· · · · Q.· · Was one of the panelists chosen for the
    13· ·segment at issue a gentleman by the name of Joe
    14· ·Lockhart?
    15· · · · · · · MS. BOLGER:· Objection to the form.
    16· · · · A.· · Yes, obviously he was there that day;
    17· ·yes.
    18· · · · Q.· · Did you consider Mr. Lockhart to hold
    19· ·an expertise in a particular subject matter at
    20· ·that time?
    21· · · · · · · MS. BOLGER:· Objection to the form.
    22· · · · A.· · Yes, Joe is a contributor for the
    23· ·network.· He is obviously a political operative
    24· ·and he has worked on many campaigns, so that is
    25· ·why he was present, along with Scott Jennings, who

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·also fulfilled the same sort of description I just
    ·3· ·gave you; so, yes.
    ·4· · · · Q.· · Did you have an understanding in
    ·5· ·January of 2020 of what the role of a contributor
    ·6· ·for CNN was?
    ·7· · · · · · · MS. BOLGER:· Objection to the form.
    ·8· · · · A.· · Yes, we have many contributors, as
    ·9· ·you're no doubt well aware, and they fulfill
    10· ·various areas of expertise on any given story.· So
    11· ·their job is to appear on the network when
    12· ·requested, and talk about their area of expertise,
    13· ·whatever that may be.
    14· · · · Q.· · At that time, did you consider
    15· ·contributors to be journalists reporting news on
    16· ·behalf of CNN?
    17· · · · · · · MS. BOLGER:· Objection to the form.
    18· · · · A.· · Some contributors may be -- I'm not
    19· ·familiar obviously with the full roster of
    20· ·contributors, Mark, I wouldn't even pretend to be,
    21· ·it's quite extensive -- so some contributors may
    22· ·be, but the contributors obviously we were using
    23· ·on that day were not, they were fulfilling other
    24· ·roles.
    25· · · · Q.· · What other roles were those?

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    ·2· · · · A.· · Joe Lockhart and Scott Jennings were
    ·3· ·political operatives, and Ryan Goodman and Laura
    ·4· ·Coates -- Ryan Goodman is not a contributor, Laura
    ·5· ·Coates I believe was, I'm not sure, but she is
    ·6· ·obviously a lawyer with extensive legal
    ·7· ·experience.
    ·8· · · · Q.· · Who chose those panelists for the
    ·9· ·segment at issue?
    10· · · · A.· · I don't recall, obviously we can all
    11· ·see what roles they are fulfilling, but I don't
    12· ·recall how we made the decision on that day; I'm
    13· ·sorry.
    14· · · · Q.· · As a matter of custom, is that a
    15· ·decision that would be made by someone on your
    16· ·team?
    17· · · · · · · MS. BOLGER:· Objection to the form.
    18· · · · A.· · Customarily, it is a combination of
    19· ·things.· You know, when you are in the middle of a
    20· ·big story and there is a certain core roster of
    21· ·contributors, sometimes they are allocated to
    22· ·shows so you know who is available in your hour
    23· ·and who isn't; sometimes you seek them out.· It
    24· ·would very much depend, so that would be how it
    25· ·ordinarily would work.· I can't tell you how it

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    ·2· ·worked on that day, I truthfully don't know.
    ·3· · · · Q.· · As a matter of custom, would you
    ·4· ·typically be involved in selecting a particular
    ·5· ·panelist?
    ·6· · · · · · · MS. BOLGER:· Objection --
    ·7· · · · A.· · Mm-mmm...it very much would depend,
    ·8· ·Mark, like I said, often it is a combination of
    ·9· ·things so I wouldn't really be able to tell you on
    10· ·that day.· You simply have people who are
    11· ·available, other times it is a discussion of who
    12· ·might be the right fit, and it is a combination of
    13· ·those two things.
    14· · · · Q.· · I appreciate that, but I am trying to
    15· ·understand if there is a person or a group of
    16· ·people that generally, as a matter of custom,
    17· ·would make the decision to bring on a particular
    18· ·panelist.· Could you help me --
    19· · · · · · · MS. BOLGER:· Objection to the form.                     I
    20· ·don't think there was a question, is there a
    21· ·question there?
    22· · · · · · · MR. SCHWEIKERT:· I did, I said, "could
    23· ·you help me understand that please?"
    24· · · · · · · MS. BOLGER:· That question has been
    25· ·asked and answered, you can answer it again.

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    ·2· · · · A.· · So Mark, in the case of a panel like
    ·3· ·this which is mostly contributors I would often be
    ·4· ·less involved in that selection because it is
    ·5· ·contributors.· This being said, if there are three
    ·6· ·contributors who are made available by the network
    ·7· ·in our hour, we would have a discussion on which
    ·8· ·one to use.· That's a general comment on how this
    ·9· ·would work, because I don't recall how it worked
    10· ·in this specific instance.
    11· · · · Q.· · And I understand, nobody is a computer,
    12· ·I don't expect people to have perfect memories.                     I
    13· ·am trying to understand generally how things were
    14· ·done around that time.· When you reference that
    15· ·customarily "we would have a discussion" were you
    16· ·referring to yourself and producers?
    17· · · · · · · MS. BOLGER:· Objection to the form.
    18· · · · A.· · That conversation that I would have had
    19· ·would have been between myself and Susie Xu.
    20· · · · Q.· · I believe you referenced a "roster" of
    21· ·potential panelists, did you not?
    22· · · · A.· · Yes.
    23· · · · Q.· · What did you mean by that?
    24· · · · A.· · The network has a roster of
    25· ·contributors on a variety of topics:· airplanes,

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    ·2· ·politics, whatever it might be in the news, who
    ·3· ·are contributors that the network can call upon
    ·4· ·for their expertise during times of high interest
    ·5· ·in their subject matter.· So in a high news
    ·6· ·environment during the impeachment there would
    ·7· ·have been a lot of people who had expertise
    ·8· ·relevant to that issue, and we would have had
    ·9· ·access to them.· As I said, some of them who were
    10· ·in high demand would be "today they available at
    11· ·these three hours, and tomorrow they are available
    12· ·at those three hours," and then the people who
    13· ·control those hours would be able to use them or
    14· ·not use them.
    15· · · · Q.· · Their availability for a particular day
    16· ·would be shown on the roster you're describing?
    17· · · · · · · MS. BOLGER:· Objection to the form.
    18· · · · A.· · So I have never -- I am using the word
    19· ·"roster" just generally, the network has people
    20· ·that are contributors.· I don't know where that is
    21· ·stored or in what form that is stored, but the
    22· ·booking team and executive producers would have
    23· ·access to that so they would know exactly "today
    24· ·we have these people," and it is a combination,
    25· ·like I said, of "here are people who are available

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·who we know are of high interest," and the show
    ·3· ·saying "well, we have interest in these specific
    ·4· ·topics and here is our ideas of who we may want to
    ·5· ·reach out to on those."
    ·6· · · · Q.· · Do you know what was done after
    ·7· ·Mr. Lockhart was selected as a potential panelist
    ·8· ·to get him on the show?
    ·9· · · · · · · MS. BOLGER:· Objection to the form,
    10· ·misstates testimony.· You can answer.
    11· · · · A.· · I would not have been a part of that
    12· ·process.
    13· · · · Q.· · As a matter of custom, who would have
    14· ·been a part of the process of contacting the
    15· ·panelist and seeing if they were available to
    16· ·appear for a particular segment?
    17· · · · A.· · That would be someone on our booking
    18· ·staff.
    19· · · · Q.· · Do you recall who was on your booking
    20· ·staff on January 29, 2020?
    21· · · · A.· · Some of them I do, but I have no idea
    22· ·who would have reached out to Joe Lockhart.
    23· · · · Q.· · Who are the people you do recall?
    24· · · · A.· · Let's see...our current head of
    25· ·booking, I don't know when -- January 2020, that

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    ·2· ·was right before COVID, right, so that would have
    ·3· ·been right before our new head of booking came in.
    ·4· ·A lot of our booking staff that was on the show at
    ·5· ·the time now changed roles.· Katie Steinmatz
    ·6· ·(ph) -- she's no longer with the company -- Bob
    ·7· ·Hand.· It was right before our current head of
    ·8· ·booking was hired, so I'm trying to think who was
    ·9· ·doing it at the time.· Honestly, for this sort of
    10· ·thing you're better to ask Susie Xu, Mark,
    11· ·because -- Matt Frazier (ph) would have been there
    12· ·at the time, he now no longer is with the show.
    13· ·If you are looking for a personnel list I am not
    14· ·really the right person.· Right now, it is a
    15· ·different group of people predominantly.
    16· · · · Q.· · I appreciate it.· I am looking for you
    17· ·to tell me what you recall to the best of your
    18· ·recollection, and I believe you just did so; so I
    19· ·appreciate that.
    20· · · · · · · As a matter of custom around that time,
    21· ·how would the booking person contact a potential
    22· ·panelist for a segment?
    23· · · · · · · MS. BOLGER:· Objection to the form, you
    24· ·can answer if you know.
    25· · · · A.· · So again, I don't know in this

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·particular case how it was done.· It is usually
    ·3· ·done via text or e-mail for a contributor or
    ·4· ·phone; one of those methods.
    ·5· · · · Q.· · As part of that initial contact for a
    ·6· ·panelist, does the booking person provide any
    ·7· ·context about why they are being contacted as a
    ·8· ·potential panelist?
    ·9· · · · · · · MS. BOLGER:· Objection to the form.
    10· · · · A.· · I honestly am not sure Mark.· Sometimes
    11· ·it might be as simple as "hey" -- fill in the
    12· ·blank -- "are you available" because they are
    13· ·contributors, so the bookers just reach out and
    14· ·then later the segment producer would follow up to
    15· ·talk about the segment.· Sometimes the bookers are
    16· ·like "hey" -- blank -- "are you available to talk
    17· ·about blank, we saw you have been saying a lot on
    18· ·social media, so what do you think?"· It is some
    19· ·sort of combination of that.· I can't tell you on
    20· ·this particular day who would have had any
    21· ·substantive conversation with Joe first.
    22· · · · Q.· · I have heard the expression
    23· ·"pre-interview."· Does that mean anything to you?
    24· · · · A.· · Yes.
    25· · · · Q.· · What is a pre-interview?

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · A.· · A pre-interview is something that we
    ·3· ·often do in advance of a segment, either the
    ·4· ·booker or the segment producer will have a
    ·5· ·conversation with the potential guest to find out
    ·6· ·what their thoughts are on the topic, and that
    ·7· ·helps us to construct the strongest panel to
    ·8· ·inform the public, and know the point of view of
    ·9· ·the guest.· Those conversations often, but do not
    10· ·always happen, and I have no idea if they happened
    11· ·on this particular day.
    12· · · · Q.· · Did you say one of the reasons for the
    13· ·pre-interview was to obtain a potential panelist's
    14· ·point of view on a particular subject for a
    15· ·segment?
    16· · · · · · · MS. BOLGER:· Objection to the form.
    17· · · · A.· · Yes, that is often what they can be
    18· ·used for, to understand someone's point of view on
    19· ·something.· So you don't have three people saying
    20· ·the same thing.
    21· · · · Q.· · Are you aware of whether there are
    22· ·notes or any sort of digital or hard copy in which
    23· ·a segment producer would memorialize a potential
    24· ·guest's point of view?
    25· · · · · · · MS. BOLGER:· Objection to the form.

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · A.· · Sometimes if there is a pre-interview
    ·3· ·notes will be sent around, yes.· I have no
    ·4· ·recollection of whether any were sent around on
    ·5· ·this day or whether I read them.
    ·6· · · · Q.· · But as a matter of custom, there were
    ·7· ·occasions when a panelist would appear on your
    ·8· ·program around that time and you did not have a
    ·9· ·prior understanding of what they were going to say
    10· ·when you asked them a question?
    11· · · · · · · MS. BOLGER:· Objection to the form,
    12· ·misstates testimony.
    13· · · · A.· · No, so we would always have known
    14· ·someone's role and what they were playing; their
    15· ·expertise, their role on the panel.· And the panel
    16· ·had Scott Jennings, and you had Joe Lockhart and
    17· ·you had legal expertise; so you had political and
    18· ·legal expertise.· So we would always construct a
    19· ·panel in that way, but that doesn't mean we would
    20· ·know any details specifically of what a person was
    21· ·going to say in every case.
    22· · · · Q.· · As a matter of custom around that time,
    23· ·would the panelists be provided with a draft of
    24· ·your question or a prompt that would proceed their
    25· ·comments?

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    ·2· · · · A.· · No.
    ·3· · · · Q.· · As a matter of custom, do you do
    ·4· ·anything before the broadcast goes live to let the
    ·5· ·panelists know sort of the choreography of the
    ·6· ·program that's about to air?
    ·7· · · · · · · MS. BOLGER:· Objection to the form.
    ·8· · · · A.· · You're all sitting on set, you may
    ·9· ·exchange pleasantries or say how you are, "I'm
    10· ·going to start with you."· It would very much
    11· ·depend.
    12· · · · Q.· · Do you recall any conversations on
    13· ·January 29th before your broadcast went live with
    14· ·Mr. Joe Lockhart?
    15· · · · A.· · I do not recall anything with Joe
    16· ·Lockhart.
    17· · · · Q.· · How do you know Joe Lockhart?
    18· · · · · · · MS. BOLGER:· Objection to the form.
    19· · · · A.· · Just via his role as contributor at
    20· ·CNN.
    21· · · · Q.· · Do you recall approximately when you
    22· ·would have met him?
    23· · · · A.· · No, I'm sorry, I don't, but it would
    24· ·have been in that context.
    25· · · · Q.· · How long have you been an anchor for

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    ·2· ·Out Front?
    ·3· · · · A.· · More than ten years.
    ·4· · · · Q.· · Have you ever worked for any media
    ·5· ·company other than CNN?
    ·6· · · · A.· · Yes, I have.
    ·7· · · · Q.· · I don't need your resume, I am trying
    ·8· ·to generally understand your prior experience.
    ·9· ·Could you let me know briefly what other media
    10· ·companies you had previously worked for?
    11· · · · A.· · I worked for Bloomberg News, and I
    12· ·worked for CNBC, and as part of that I did work on
    13· ·MSNBC and NBC news.
    14· · · · Q.· · Approximately when were you hired by
    15· ·CNN in any capacity?
    16· · · · A.· · Well, actually that's an interesting
    17· ·question.· I originally came to CNN as an
    18· ·assistant for an anchor named Willow Bay.· I left
    19· ·CNN thinking that I would do something different,
    20· ·and I did a lot of other things, came back into
    21· ·news via those other companies, and then was hired
    22· ·by CNN as an anchor in the spring of 2011 -- yes,
    23· ·spring of 2011.· My program launched in
    24· ·October 2011.
    25· · · · Q.· · Had Joe Lockhart previously appeared as

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    ·2· ·a panelist on your program during January of 2020
    ·3· ·before his appearance on the 29th?
    ·4· · · · · · · MS. BOLGER:· Objection to the form of
    ·5· ·the question.· Erin, you can't answer that as to
    ·6· ·public appearances unrelated to this matter, but
    ·7· ·if there is something that happened behind the
    ·8· ·scenes -- I don't know if that's true or not --
    ·9· ·you can mention it.
    10· · · · A.· · I have no idea, I just don't remember.
    11· ·It's possible, it would be a matter of checking
    12· ·it; I don't know.
    13· · · · Q.· · There is nothing memorable about
    14· ·Mr. Joe Lockhart that would make you remember him
    15· ·if he had appeared on your program during the
    16· ·month of January 2020 before the 29th?
    17· · · · · · · MS. BOLGER:· Objection to the form.
    18· ·Definitely not what the witness said.
    19· · · · · · · MR. SCHWEIKERT:· It is --
    20· · · · A.· · Joe is a contributor so he could have
    21· ·been on, very possibly.· I just don't remember.
    22· · · · · · · MR. SCHWEIKERT:· If I put a PDF into
    23· ·the chat, Ms. Burnett, do you have the ability to
    24· ·open it up?
    25· · · · A.· · I should.

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    ·2· · · · · · · MS. BOLGER:· Mark, I am not sure she
    ·3· ·will be able to do a PDF as she's on an iPad, you
    ·4· ·may need to do shared screen.· Happy to try, I am
    ·5· ·just warning you in advance.
    ·6· · · · · · · THE WITNESS:· Right, let's try it.
    ·7· · · · · · · (Discussion regarding iPad and PDF.)
    ·8· · · · · · · MR. SCHWEIKERT:· Can we take a brief
    ·9· ·break off the record?
    10· · · · · · · THE VIDEOGRAPHER:· We are off the
    11· ·record, the time is 11:10 a.m. Eastern time.
    12· · · · · · · (Recess.)
    13· · · · · · · THE VIDEOGRAPHER:· We are back on the
    14· ·record, the time is 11:27 a.m. Eastern time.
    15· · · · Q.· · Ms. Burnett, I understand that you're
    16· ·having difficulty receiving PDF documents that I
    17· ·am dropping in the chat of this Zoom deposition.
    18· · · · · · · Is that right?
    19· · · · A.· · Yes, I am checking again, and I do not
    20· ·see it.
    21· · · · · · · MS. BOLGER:· Just for the record, I
    22· ·have offered to either do the share screen so the
    23· ·witness can see them, and I've said we can e-mail
    24· ·them to Ms. Burnett, but her devices are out of
    25· ·the room; so we're doing our best to try to help

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·Mr. Schweikert get this information to Erin
    ·3· ·Burnett.· She's here to testify, she's here to
    ·4· ·look at whatever she needs to look at, and we are
    ·5· ·prepared to help, so I want the record to reflect
    ·6· ·that less it appear otherwise.
    ·7· · · · · · · MR. SCHWEIKERT:· I will show you by
    ·8· ·sharing my screen a document Bates labeled CNN 65
    ·9· ·through 66, which was previously marked
    10· ·Plaintiff's Exhibit 37, but to avoid any potential
    11· ·confusion I am going to mark the document I am
    12· ·about to show you as Plaintiff's Exhibit 47.
    13· · · · · · · (Plaintiff's Exhibit No. 47 was
    14· · · · · · · marked for identification.)
    15· · · · Q.· · Can you see a document on your screen,
    16· ·Ms. Burnett?
    17· · · · A.· · Yes.
    18· · · · Q.· · I will show you quickly it's two-pages
    19· ·long, do you see that?
    20· · · · A.· · Yes.
    21· · · · Q.· · I'd like to give you a chance to review
    22· ·the document before I ask you questions about it.
    23· · · · · · · (Witness directs scrolling and reads.)
    24· · · · A.· · I see.
    25· · · · Q.· · Do you recognize that document,

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·Ms. Burnett?
    ·3· · · · A.· · I will answer it in the current time.
    ·4· ·I believe I was aware this would come up, but in
    ·5· ·the time that you're talking about, I have
    ·6· ·absolutely no recollection of it.
    ·7· · · · Q.· · Is Plaintiff's Exhibit 47 an e-mail
    ·8· ·from Katie Carver sent January 29, 2020 at
    ·9· ·approximately 3:15 p.m. to Susie Xu, yourself and
    10· ·Rebecca Samuels?
    11· · · · A.· · Yes.
    12· · · · Q.· · Do you see the subject of the e-mail is
    13· ·"Wednesday panel point of view"?
    14· · · · A.· · Yes.
    15· · · · Q.· · Is this an e-mail in preparation for
    16· ·your broadcast that included the segment with Joe
    17· ·Lockhart that's at issue in this case?
    18· · · · A.· · Yes, it certainly appears to be.
    19· · · · Q.· · Who is Katie Carver?
    20· · · · A.· · Katie Carver is a segment producer.
    21· · · · Q.· · Do you recall if more than one segment
    22· ·producer worked on the segment in which
    23· ·Mr. Lockhart appeared on your broadcast on
    24· ·January 29th?
    25· · · · A.· · I don't recall.

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · Q.· · Does this document we're looking at
    ·3· ·refresh your recollection in any way?
    ·4· · · · · · · MS. BOLGER:· Objection to the form.
    ·5· · · · A.· · So, it would appear from this document
    ·6· ·that Katie Carver would be the segment producer
    ·7· ·because she sent it -- the e-mail -- and the
    ·8· ·recipients would be myself, the executive
    ·9· ·producer, and Rebecca Samuels -- I mentioned her
    10· ·name earlier -- her role is the anchor producer,
    11· ·so in that capacity she would be copied on
    12· ·anything -- not on anything -- on many things that
    13· ·a segment producer would send me; not all, but it
    14· ·would be common for it to be this way.
    15· · · · Q.· · Would it be common for the entirety of
    16· ·an e-mail such as this to contain information
    17· ·related to the segment that the segment producer
    18· ·is e-mailing you and others about?
    19· · · · · · · MS. BOLGER:· Objection to the form.
    20· · · · A.· · I'm sorry.· Are you asking, Mark, is it
    21· ·common to get e-mail that would include the
    22· ·panel's point of view?
    23· · · · Q.· · Correct, yes.
    24· · · · A.· · It would be common.· It would not be
    25· ·guaranteed, like I said when we were talking about

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·how contributors work, but it would be common and
    ·3· ·this would be standard; yes.
    ·4· · · · Q.· · You see how Ms. Carver writes in the
    ·5· ·bottom of her e-mail "Thought I'd send over some
    ·6· ·POV early, since Lockhart is Tweeting up a storm,"
    ·7· ·right?
    ·8· · · · A.· · Yes, I see that.
    ·9· · · · Q.· · Then there is a big box that says
    10· ·"non-responsive," right?
    11· · · · A.· · Yes.
    12· · · · Q.· · Below that we see Joe Lockhart's name,
    13· ·right?
    14· · · · A.· · Yes.
    15· · · · Q.· · Immediately below his name is another
    16· ·big redaction with the phrase "non-responsive,"
    17· ·right?
    18· · · · A.· · Yes.
    19· · · · Q.· · Do you recall Mr. Lockhart providing
    20· ·any commentary on anything other than the segment
    21· ·in which Mr. Dershowitz's statements on the floor
    22· ·of the Congress were discussed?
    23· · · · A.· · No.
    24· · · · · · · MS. BOLGER:· Objection to the form.                     I
    25· ·don't understand the question, you can answer if

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    ·2· ·you do.
    ·3· · · · A.· · I don't recall any other topic.
    ·4· · · · Q.· · Do you believe that Mr. Lockhart was
    ·5· ·brought on as a guest for your broadcast on
    ·6· ·January 29th solely for the segment regarding
    ·7· ·Mr. Dershowitz's statements to Congress earlier
    ·8· ·that day?
    ·9· · · · · · · MS. BOLGER:· Objection to the form.
    10· · · · A.· · So, Mark, all I can say is I don't know
    11· ·what these other topics were, obviously that was
    12· ·-- I had been watching hearings all day, and he
    13· ·had been Tweeting about it, so I would presume
    14· ·that we booked him with the intent of being on a
    15· ·panel about the main story of the day which would
    16· ·be the impeachment proceedings.
    17· · · · · · · MS. BOLGER:· Don't assume, testify to
    18· ·what you know.
    19· · · · A.· · I don't know.· All I can tell you that
    20· ·is the segment in which he appeared, so that's
    21· ·what he talked about I guess is the best I can
    22· ·answer.
    23· · · · Q.· · You don't recall seeing in the video or
    24· ·reading in the transcript of the broadcast
    25· ·Mr. Lockhart commenting on anything other than the

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    ·2· ·legal argument presented by Mr. Dershowitz to
    ·3· ·Congress, is that fair?
    ·4· · · · · · · MS. BOLGER:· Objection to the form.· Do
    ·5· ·you mean the segment at issue?
    ·6· · · · A.· · The segment at issue?· He talked
    ·7· ·about --
    ·8· · · · · · · MR. SCHWEIKERT:· Do you see what
    ·9· ·happens?
    10· · · · · · · MS. BOLGER:· I really didn't understand
    11· ·the question.
    12· · · · · · · MR. SCHWEIKERT:· Ma'am, you're not
    13· ·testifying under oath, the witness is, I know you
    14· ·would like to coach her like you have done so many
    15· ·times; it is really, really dumbfounding for me to
    16· ·experience.· Could you please refrain?· If you
    17· ·think my question is confusing you could state a
    18· ·form objection which would cover confusing; you
    19· ·don't need to express any statements that the
    20· ·witness then piggybacks and parrots in response to
    21· ·my questions, like just occurred.
    22· · · · · · · MS. BOLGER:· For the record, the reason
    23· ·for my request for clarification is if the request
    24· ·was more broad I would give the standard privilege
    25· ·objection as I was confused, and that's why I

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·asked the question.
    ·3· · · · · · · MR. SCHWEIKERT:· Form please, ma'am.
    ·4· · · · Q.· · Do you recall seeing in the video or
    ·5· ·reading in the transcript of the segment at issue
    ·6· ·Mr. Lockhart make any comments about anything
    ·7· ·other than Mr. Dershowitz's legal argument to
    ·8· ·Congress earlier that day?
    ·9· · · · A.· · To be honest, I'm not totally sure.· Do
    10· ·you want to play the segment again?· Joe was on to
    11· ·talk as a former campaign operative about the
    12· ·segment, about Alan Dershowitz's comment, as well
    13· ·as the impeachment proceedings of the day; how the
    14· ·impeachment hearings had gone.· So in that
    15· ·capacity he could have talked about anything in
    16· ·the hearing.· He was not there as -- you had Laura
    17· ·Coates and Ryan Goodman there also doing legal;
    18· ·Joe and Scott Jennings were there as political
    19· ·commentators and experts.
    20· · · · Q.· · What do you mean by Mr. Lockhart being
    21· ·at that time, among other things, a "political
    22· ·operative"?
    23· · · · · · · MS. BOLGER:· Objection to the form.
    24· · · · A.· · He was a political expert, right, he
    25· ·had run campaigns and been very active in advising

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·political campaigns.
    ·3· · · · Q.· · Do you know if at the time he appeared
    ·4· ·on your broadcast on January 29th whether he was
    ·5· ·advising any candidates running for public office
    ·6· ·at that time?
    ·7· · · · · · · MS. BOLGER:· Objection to the form.
    ·8· · · · A.· · I do not know, I would be the wrong
    ·9· ·person to ask that question to.
    10· · · · Q.· · Do you recall Mr. Lockhart using the
    11· ·word "Hitler" during your broadcast which is at
    12· ·issue?
    13· · · · A.· · So, again, I will answer that in two
    14· ·ways:· I had no recollection of that until I
    15· ·reviewed the tape, and then, of course, yes, I
    16· ·heard it.
    17· · · · Q.· · When you reviewed the tape, in your
    18· ·opinion did you appear surprised to hear that
    19· ·word?
    20· · · · · · · MS. BOLGER:· Objection to the form.
    21· · · · A.· · I'm not sure surprised, I don't think
    22· ·so; certainly, I wouldn't have known he was going
    23· ·to say it until he said it.· Again, I am happy to
    24· ·re-watch it with you at any point if that's
    25· ·helpful.

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · Q.· · How are you certain that you know he
    ·3· ·wasn't going to say that word if you can't recall
    ·4· ·any prior discussions with Mr. Lockhart before
    ·5· ·your broadcast aired that evening?
    ·6· · · · · · · MS. BOLGER:· Objection to the form.
    ·7· · · · A.· · Mr. Lockhart and I would not have had
    ·8· ·-- like I said I could have passed Joe in the
    ·9· ·hallway before he came on and possibly said "hi,"
    10· ·I can't tell you that didn't happen.· So that
    11· ·would have been the context in which I would have
    12· ·seen him before.
    13· · · · Q.· · But you're --
    14· · · · A.· · We would not have talked about a
    15· ·substance of what he was going to say is what I'm
    16· ·saying, that wouldn't have happened.
    17· · · · Q.· · But that is an assumption you're
    18· ·making, you don't have a specific recollection of
    19· ·whether you did or did not talk to him before the
    20· ·broadcast aired, is that right?
    21· · · · · · · MS. BOLGER:· Objection to the form.
    22· · · · A.· · Right, right.· We were all sitting on
    23· ·set, I don't know where before the commercial;
    24· ·yeah.
    25· · · · Q.· · When you just reviewed Plaintiff's

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·Exhibit 37 (sic), which was one your segment
    ·3· ·producer's e-mails to you about Joe Lockhart's
    ·4· ·point of view before the broadcast, did you see
    ·5· ·any reference in there to Hitler?
    ·6· · · · · · · MS. BOLGER:· If you are going to ask
    ·7· ·the witness about the document you should give her
    ·8· ·the chance to see it.
    ·9· · · · A.· · Could you put it back up, Mark?
    10· · · · Q.· · What do you remember?· Do you not
    11· ·remember what you just read?
    12· · · · A.· · I did just read it.· If you want me to
    13· ·be 1,000 percent sure it's not in there I can read
    14· ·it again just to double check.
    15· · · · Q.· · Do you recall seeing that word when you
    16· ·just read it moments ago?
    17· · · · A.· · No, I don't.
    18· · · · Q.· · So you can double check, I will share
    19· ·my screen with you momentarily.
    20· · · · · · · (Screen shared.)
    21· · · · Q.· · Do you see a portion of the exhibit you
    22· ·just read on the screen?
    23· · · · A.· · I do.· I see the exhibit, I am just
    24· ·skimming through it just to make sure; I just
    25· ·don't want to say anything definitively and be

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·wrong.· No, it is not in there.
    ·3· · · · Q.· · Do you see the word "Mussolini" in this
    ·4· ·e-mail sent to you with Mr. Lockhart's point of
    ·5· ·view prior to the broadcast at issue?
    ·6· · · · A.· · No.
    ·7· · · · Q.· · Do you see the word "Stalin"?
    ·8· · · · A.· · No.
    ·9· · · · Q.· · Do you see the word "genocide"?
    10· · · · A.· · No.
    11· · · · Q.· · Do you agree that as of January 29,
    12· ·2020 the word "Hitler" may lead some of your
    13· ·viewers to think of the Holocaust?
    14· · · · · · · MS. BOLGER:· Objection to the form of
    15· ·the question.
    16· · · · A.· · I don't know what it would have made
    17· ·people think, I know from my review of the tape
    18· ·which again, I am happy to watch again, that Joe
    19· ·mentioned that the concept and policy of the
    20· ·argument being put forth by Professor Dershowitz
    21· ·was akin to authoritarian regimes and dictators
    22· ·like Stalin, Mussolini and Hitler.
    23· · · · Q.· · Do you recall Mr. Lockhart making a
    24· ·comment to the effect that he believed
    25· ·Mr. Dershowitz's argument was similar to those

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·arguments dictators such as Hitler used to justify
    ·3· ·the mass extermination of a particular segment of
    ·4· ·the global population?
    ·5· · · · · · · MS. BOLGER:· Objection to the form of
    ·6· ·the question.
    ·7· · · · A.· · We can watch the tape again, but I
    ·8· ·don't believe Joe mentioned the Holocaust.
    ·9· · · · Q.· · You don't recall hearing or reading the
    10· ·word "genocide" when you prepared for this
    11· ·deposition?
    12· · · · · · · MS. BOLGER:· Objection to the --
    13· · · · A.· · Can we watch it again?· Is it helpful
    14· ·for me to watch it again?
    15· · · · Q.· · I understand why memory may be fuzzy
    16· ·about things two years ago, but I am just asking
    17· ·if you recall, based upon having reviewed the
    18· ·video and the transcript of the broadcast in
    19· ·connection with preparing for this deposition?
    20· · · · · · · MS. BOLGER:· Mark, the witness has now
    21· ·asked twice to see the video; if you're going to
    22· ·ask her about the video and she's asked to see the
    23· ·video, show her the video.
    24· · · · · · · MR. SCHWEIKERT:· As you know, I
    25· ·respectfully get to ask the questions here.· When

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·I am done with my examination you have every right
    ·3· ·to ask your own questions, play videos, anything
    ·4· ·else you think is appropriate.· I am entitled to
    ·5· ·know what the witness recalls.
    ·6· · · · Q.· · So my question stands, but I will
    ·7· ·restate it.· Do you recall hearing or reading the
    ·8· ·word "genocide" when you watched the video and
    ·9· ·read the transcript of the segment at issue in
    10· ·preparing for this deposition?
    11· · · · · · · MS. BOLGER:· Objection to the form.
    12· · · · A.· · I don't.· I obviously did read it, I
    13· ·did review it, but what I recall from that, that I
    14· ·can tell you for sure was the mention of Stalin,
    15· ·Mussolini and Hitler.· But again, I am happy to
    16· ·watch the tape if you want me to watch it and
    17· ·answer your questions in the context of hearing
    18· ·how it was used; I am happy to do that.
    19· · · · Q.· · Do you recall if at any time during the
    20· ·broadcast of the segment at issue you considered
    21· ·how the comments being made by Mr. Lockhart may
    22· ·impact Professor Dershowitz?
    23· · · · · · · MS. BOLGER:· Objection to the form.
    24· · · · A.· · I'm trying to think how to answer your
    25· ·question.· What I recall or what I understand what

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·we're talking about here was the question that Ted
    ·3· ·Cruz asked which Professor Dershowitz answered,
    ·4· ·and his answer to that question is what prompted
    ·5· ·Joe Lockhart to say that that justification, that
    ·6· ·if you believe your re-election is in the public
    ·7· ·interest, that what you did to advance your
    ·8· ·re-election would be acceptable.· Joe felt that
    ·9· ·that argument had been used to justify
    10· ·authoritarian regimes like Hitler, Mussolini and
    11· ·Stalin.
    12· · · · Q.· · Did you watch Mr. Dershowitz's answer
    13· ·to Senator Ted Cruz's question contemporaneously
    14· ·as it occurred on the floor of Congress?
    15· · · · A.· · Yes, I did, I watched it again that
    16· ·day.
    17· · · · Q.· · Do you recall Mr. Dershowitz make any
    18· ·comments about genocide?
    19· · · · · · · MS. BOLGER:· Objection to the form,
    20· ·asked and answered.
    21· · · · A.· · No, I don't recall that.
    22· · · · Q.· · Do you recall Mr. Dershowitz using the
    23· ·word "Hitler" during his presentation on that day?
    24· · · · A.· · No, I don't, but obviously Hitler was
    25· ·used on the program along with Stalin and

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·Mussolini as describing the argument and
    ·3· ·justification that Professor Dershowitz was
    ·4· ·putting forth in his answer to Ted Cruz.· That was
    ·5· ·the argument being put forth by Joe.
    ·6· · · · Q.· · Are you aware that Professor Alan
    ·7· ·Dershowitz is Jewish?
    ·8· · · · A.· · Yes, I am.
    ·9· · · · Q.· · At any time during the broadcast of the
    10· ·segment at issue or thereafter, did you ever
    11· ·consider how the comments made by Mr. Lockhart
    12· ·might impact Professor Dershowitz?
    13· · · · · · · MS. BOLGER:· Objection to the form.
    14· · · · A.· · I am trying to think how to answer your
    15· ·question.· Truthfully, I don't believe someone's
    16· ·religion would be relevant if they are putting
    17· ·forth an argument that someone felt was an
    18· ·argument used by authoritarian regimes, including
    19· ·like that of Hitler, Mussolini and Stalin, then
    20· ·they are putting forth that argument.· The
    21· ·religion of the person putting forth that argument
    22· ·would not be relevant.
    23· · · · Q.· · So "no," you did not consider during
    24· ·any time during the broadcast of the segment at
    25· ·issue or thereafter how Mr. Joe Lockhart's

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·comments might affect Professor Dershowitz, is
    ·3· ·that right?
    ·4· · · · · · · MS. BOLGER:· Objection to the form,
    ·5· ·asked and answered.
    ·6· · · · A.· · No, because I wouldn't think that
    ·7· ·religion would be the driver -- it wasn't the
    ·8· ·driver of the comment being made.
    ·9· · · · Q.· · I was not asking about religion, ma'am.
    10· ·I was asking whether in your role as an anchor who
    11· ·strives to speak truth to power, did you ever
    12· ·consider at any time during the broadcast of this
    13· ·segment at issue or thereafter about how the
    14· ·comments made by Joe Lockhart might impact
    15· ·Professor Dershowitz?
    16· · · · · · · MS. BOLGER:· Objection, asked and
    17· ·answered.
    18· · · · A.· · You asked me if I knew his religion and
    19· ·in that context if I thought that this would
    20· ·impact him, so I am simply putting it in that
    21· ·context.· No, I wouldn't think that his
    22· ·religion -- if someone says something and puts
    23· ·forth an argument, I put forth an argument, it
    24· ·turns out that because I was raised Catholic that
    25· ·that caused some kind of an issue, that would not

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·be relevant if I put forth the argument.
    ·3· · · · · · · So Joe was commenting on the substance
    ·4· ·of the comments that Professor Dershowitz made in
    ·5· ·their totality, separate from the religion of the
    ·6· ·person making the comments, and any implied
    ·7· ·offense that a person of that religion could take.
    ·8· · · · Q.· · Setting aside the context of religion,
    ·9· ·did you ever consider at any time during the
    10· ·broadcast of the segment at issue or thereafter
    11· ·how the comments made by Joe Lockhart might affect
    12· ·Professor Dershowitz?
    13· · · · · · · MS. BOLGER:· Objection, asked and
    14· ·answered.
    15· · · · A.· · I'm sorry, I'm not answering this in
    16· ·the way that you seem to be looking for, but the
    17· ·reality of it is that would not be a consideration
    18· ·because the comments were made about the substance
    19· ·of what Professor Dershowitz said.· So --
    20· · · · Q.· · So the answer is "no" --
    21· · · · A.· · -- I would not consider it to be within
    22· ·my purview to consider how they might make
    23· ·somebody feel, if the person said what they said.
    24· · · · Q.· · And you didn't consider it to be within
    25· ·your purview to think about how those comments

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·made on your broadcast might affect the reputation
    ·3· ·of Professor Dershowitz, is that right?
    ·4· · · · · · · MS. BOLGER:· Objection to the form.
    ·5· · · · A.· · Professor Dershowitz said what he said
    ·6· ·on the floor of Congress.· So anything he says on
    ·7· ·the floor of Congress is a matter of public record
    ·8· ·and public discussion and would be important to
    ·9· ·discuss, which is what we did on that panel; and
    10· ·Joe's comment would fall exactly within that
    11· ·realm.
    12· · · · Q.· · But Mr. Dershowitz never used the words
    13· ·"Hitler, Stalin, Mussolini" or "genocide" during
    14· ·his statements on January 29th to Congress, did
    15· ·he?
    16· · · · · · · MS. BOLGER:· Objection to the form.
    17· · · · A.· · No, he did not, and Joe's argument, as
    18· ·I understand it from my review of the tape, was to
    19· ·say what the substance of what Professor
    20· ·Dershowitz was saying, the argument that he was
    21· ·making about the re-election of a president being
    22· ·within the public interest justifying anything to
    23· ·reach that means was something used by
    24· ·authoritarian regimes such as Hitler, Stalin or
    25· ·Mussolini.

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · Q.· · Did you agree with those statements by
    ·3· ·Mr. Lockhart?
    ·4· · · · A.· · Well, my job isn't to agree or
    ·5· ·disagree, I was there moderating the panel and Joe
    ·6· ·provided that argument, and as far as my
    ·7· ·understanding from reviewing it, Scott Jennings
    ·8· ·pushed back, Joe responded, there was immediate
    ·9· ·discussion in the actual moment about the use of
    10· ·the words Hitler, Mussolini and Stalin.· So that
    11· ·very conversation happened in the panel itself.
    12· · · · Q.· · Would you agree that part of your role
    13· ·as an anchor on a broadcast is to ensure that
    14· ·anything said is premised upon a fair and accurate
    15· ·characterization of the facts that are newsworthy?
    16· · · · · · · MS. BOLGER:· Objection to the form.
    17· · · · A.· · I would say that, that's, you know,
    18· ·fair; we put on a panel and the context of the
    19· ·segment we're discussing where various people
    20· ·brought various points of view.· So you had -- I
    21· ·know I keep repeating myself -- so you had Scott
    22· ·Jennings and Joe Lockhart sort of coming from two
    23· ·different perspectives, obviously Joe had been a
    24· ·long-time Democratic campaign operative and Scott
    25· ·Republican, and we also had two lawyers with their

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·extensive expertise as well, so they would bring
    ·3· ·their points of view to the table to add to the
    ·4· ·conversation.
    ·5· · · · Q.· · Around that time as a matter of custom,
    ·6· ·if one of your panelists crossed the line in your
    ·7· ·mind of what was a fair and accurate
    ·8· ·characterization of the facts you would rein them
    ·9· ·in, right?
    10· · · · · · · MS. BOLGER:· Objection to the form.
    11· · · · A.· · It would very much depend on the
    12· ·conversation and the context.
    13· · · · Q.· · Have you ever in your career as an
    14· ·anchor told a commentator on air that their
    15· ·characterization was not consistent with what you
    16· ·believed at that time to be a fair and accurate
    17· ·characterization of the facts?
    18· · · · · · · MS. BOLGER:· Objection to the form.
    19· ·You can talk about something that's been published
    20· ·but not any news gathering that is not public,
    21· ·that is not related to this lawsuit.
    22· · · · A.· · Right.· I'd have to say, Mark, I don't
    23· ·recall.· Obviously, there is some fact checking
    24· ·that goes on realtime when someone says something
    25· ·that is counterfactual.· This specific issue would

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·have been a matter of somebody's opinion and
    ·3· ·interpretation that they were there as
    ·4· ·contributors to provide.
    ·5· · · · Q.· · But that opinion was being provided on
    ·6· ·CNN's platform specifically via a broadcast of
    ·7· ·your television program, right?
    ·8· · · · · · · MS. BOLGER:· Objection to the form.
    ·9· · · · A.· · That's correct.
    10· · · · Q.· · In your role as an anchor, some of the
    11· ·things that are important to you is to ensure that
    12· ·the news being broadcast on CNN's platform is
    13· ·based upon a fair and accurate characterization of
    14· ·facts, right?
    15· · · · · · · MS. BOLGER:· Objection to the form.
    16· · · · A.· · That's correct -- and again, I know I
    17· ·am repeating myself -- but the matter at hand was
    18· ·the question and answer between Ted Cruz and
    19· ·Professor Dershowitz.· So the argument put forth
    20· ·by Professor Dershowitz in that answer was what
    21· ·Joe said was an authoritarian justification in
    22· ·Joe's opinion, and he obviously mentioned those
    23· ·authoritarian dictators in that context.· That's
    24· ·what happened.· And as I said, after that Scott
    25· ·Jennings did bring up the specific names

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    ·2· ·mentioned, and Joe made it very clear that he was
    ·3· ·talking about the ideas and justifications put
    ·4· ·forth by those regimes, not calling an individual
    ·5· ·equivalent to Hitler.· You can play that or watch
    ·6· ·that, but that's my understanding of what
    ·7· ·happened.
    ·8· · · · Q.· · So you do recall some of what you
    ·9· ·watched on the video or read --
    10· · · · A.· · I do recall, yes, some of it, yes, of
    11· ·course.· If you want to get into specific words
    12· ·used in specific contexts I would prefer to watch
    13· ·it, but overall that is my recollection.
    14· · · · Q.· · Please tell me if you agree or disagree
    15· ·with the following statement: "The abridgement is
    16· ·not accurate to the extent that it omitted a
    17· ·crucial qualification that an illegal motive for a
    18· ·quid pro quo would be corrupt."
    19· · · · · · · MS. BOLGER:· Objection to the form.
    20· ·And I will make the same request I made yesterday
    21· ·which is if you are going to read from a document,
    22· ·show it to the witness.· Erin, you can certainly
    23· ·answer.
    24· · · · A.· · To be honest, I don't understand.· Can
    25· ·you define the word "abridgement"?

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · Q.· · Do you recall whether a portion of
    ·3· ·Mr. Dershowitz's statements earlier in the day
    ·4· ·were shown during your broadcast, before
    ·5· ·Mr. Lockhart made the statements that are at
    ·6· ·issue?
    ·7· · · · · · · MS. BOLGER:· Objection to the form.
    ·8· · · · A.· · So I will answer this as best I can if
    ·9· ·we're going not going to re-watch it.· But Mark,
    10· ·from what I have reviewed, our job at the end of
    11· ·the day when I am watching hearings overall --
    12· ·I'll answer this generally so you understand where
    13· ·we come from -- would be to say "we have a limited
    14· ·amount of air time, right, what stands out, what
    15· ·should be analyzed?"· So that was done at various
    16· ·points in the program, so in the program different
    17· ·things would have been pulled out.· So, Senator
    18· ·Tester was on prior I know from my review of the
    19· ·video prior to this panel, and I talked to him
    20· ·about different things that were said, right.· We
    21· ·don't just come on and pound the table on one
    22· ·thing, we'll talk about various things and that
    23· ·appears to be what we did in this case.
    24· · · · Q.· · Did your broadcast include a full
    25· ·presentation of the statements Mr. Dershowitz had

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·made in response to the questions posed by Senator
    ·3· ·Ted Cruz earlier in the day?
    ·4· · · · · · · MS. BOLGER:· Objection to the form.
    ·5· · · · A.· · Well, you yourself sort of made me
    ·6· ·smile internally when you referred to Professor
    ·7· ·Dershowitz's comments that day as the length of
    ·8· ·the Bible, so we would have picked out certain
    ·9· ·parts that seemed very newsworthy and noteworthy.
    10· ·We were not going to replay the whole thing, if
    11· ·people wanted to watch the whole thing they could
    12· ·have watched the whole thing in its totality on
    13· ·CNN.
    14· · · · Q.· · My reference to the length of the Bible
    15· ·was to the entire Congressional Record, not
    16· ·necessarily to what Mr. Dershowitz said, but I can
    17· ·understand you may have interpreted it
    18· ·differently.
    19· · · · · · · So it is true that CNN did not present
    20· ·Mr. Dershowitz's entire answer to Senator Ted
    21· ·Cruz's questions on your broadcast before
    22· ·Mr. Lockhart made the statements that are at
    23· ·issue?
    24· · · · · · · MS. BOLGER:· Objection to the form, you
    25· ·can answer.

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    ·2· · · · A.· · So we played a sound bite which
    ·3· ·included the main response of Professor
    ·4· ·Dershowitz.· But without looking at exactly the
    ·5· ·full, everything, I really can't get more specific
    ·6· ·to you about we put in and what we did not put in;
    ·7· ·we put in the core substance of the question and
    ·8· ·answer with Ted Cruz.
    ·9· · · · Q.· · Who made the determination about what
    10· ·sound bite to use for your broadcast immediately
    11· ·prior to Joe Lockhart's statements that are at
    12· ·issue?
    13· · · · A.· · Okay, so you're asking specifically
    14· ·about that one sound bite, correct?
    15· · · · Q.· · Yes.· We talked about how you and the
    16· ·producers might collaborate on a script.· Do you
    17· ·know who made the decision to use the sound bite
    18· ·that was shown on your show before Mr. Lockhart
    19· ·made the statements at issue?
    20· · · · A.· · Again, I am trying to answer your
    21· ·question here, I will answer specifically and
    22· ·generally.· Specifically no, I don't know who
    23· ·would have made the exact in and outs decision,
    24· ·but generally why we would have chosen to pick
    25· ·that moment, yes, that would have been something

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    ·2· ·that we would have decided; I obviously watched
    ·3· ·the hearings in real time, watched the reaction to
    ·4· ·them.· We thought that moment stood out which was
    ·5· ·reflective of how I, when I re-watched the program
    ·6· ·my verbiage that I chose, sort of it -- that it
    ·7· ·made people's jaws drop, as I recall I said
    ·8· ·something like that, that would have been an
    ·9· ·accurate reflection of how I felt that moment was,
    10· ·and so that moment itself being chosen would have
    11· ·been one that Susie and I would have decided to
    12· ·put in there.· That's why it would have been
    13· ·there, as to how specifically word-by-word, ins
    14· ·and outs, that I'm sorry, I can't answer; I don't
    15· ·know.
    16· · · · Q.· · Do you recall if the sound bite that
    17· ·was prepared for the broadcast at issue was
    18· ·presented to Mr. Lockhart before he went on air on
    19· ·your show?
    20· · · · A.· · I don't know the answer to that
    21· ·question.
    22· · · · Q.· · Would it have been customary around
    23· ·that time for your team to provide a panelist with
    24· ·a copy of the sound bite -- are you reading
    25· ·something, ma'am?

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    ·2· · · · A.· · No, I don't have anything, I'm sorry
    ·3· ·(holds up fingers).
    ·4· · · · · · · MS. BOLGER:· Objection to the form.
    ·5· ·And also, Mark she's not reading something, please
    ·6· ·stop asking --
    ·7· · · · · · · MR. SCHWEIKERT:· Ms. Bolger, I asked
    ·8· ·her a question, she said "no," that's it.
    ·9· · · · Q.· · You answered my question, ma'am, that's
    10· ·all you're here to do.· I don't need a lawyer's
    11· ·characterization of what you're supposedly doing
    12· ·that she is not there to witness.
    13· · · · · · · MS. BOLGER:· It's bordering on
    14· ·harassing is all I am saying.
    15· · · · · · · MR. SCHWEIKERT:· It's not, it's not; it
    16· ·is just a question.
    17· · · · · · · MS. BOLGER:· I think you are bordering
    18· ·on accusing the witness of being dishonest, and
    19· ·I'm going to make my record to say that.
    20· · · · · · · MR. SCHWEIKERT:· I am not making an
    21· ·accusation, I asked a question and she answered
    22· ·it, and then you jumped in and started making
    23· ·characterizations that I'm harassing or
    24· ·insinuating things.· It was literally a factual
    25· ·question, "are you reading," she said "no,"· and I

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    ·2· ·was about --
    ·3· · · · · · · MS. BOLGER:· You've asked that several
    ·4· ·times --
    ·5· · · · · · · MR. SCHWEIKERT:· Now you have the
    ·6· ·opportunity to have another improper interruption
    ·7· ·in my deposition, which I am striving to complete
    ·8· ·as soon as possible because I know Ms. Burnett has
    ·9· ·other things to do today.· So again, please
    10· ·refrain from making objections other than form and
    11· ·privilege.
    12· · · · · · · MS. BOLGER:· I will say again I think
    13· ·your conduct about what the witness is doing is
    14· ·bordering on harassing, and I'm going to make my
    15· ·record.· I'm not sure if there is a pending
    16· ·question, but I'm sure the witness will be happy
    17· ·to answer whatever your pending question is.
    18· · · · · · · MR. SCHWEIKERT:· You have the uncanny
    19· ·ability, just like your client, to try to spin
    20· ·everything, and the record and videotape will
    21· ·reflect exactly whatever it reflects, whoever
    22· ·watches it can form their own opinions.· I did not
    23· ·intend to harass, I was just asking and she said
    24· ·"no."
    25· · · · · · · Ellen, I'm so sorry, could you briefly

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    ·2· ·remind me what I was talking about?
    ·3· · ·(The following was read from the record by the
    ·4· · stenographer:· "Q. Would it have been customary
    ·5· · · around that time for your team to provide a
    ·6· ·panelist with a copy of the sound bite -- are you
    ·7· · · · · · ·reading something, ma'am?")
    ·8· · · · A.· · I can answer that question.
    ·9· · · · Q.· · Let me restate it.· Would it have been
    10· ·customary around the time of the broadcast at
    11· ·issue for your team to have provided a panelist
    12· ·with a copy of any sound bite that was going to be
    13· ·presented in connection with their commentary on
    14· ·your show?
    15· · · · · · · MS. BOLGER:· Remember not to answer to
    16· ·any specifics other than this, but you can answer
    17· ·generally.
    18· · · · A.· · Okay.· So no, that would not be
    19· ·customary.· Do you recall, Mark, you showed me the
    20· ·e-mail from Katie Carver?· If a panelist had said
    21· ·in the context of a pre-interview "oh, this moment
    22· ·really stands out to me" or "this is really
    23· ·significant," and we think "oh, that's where that
    24· ·person is particularly interesting or strong" we
    25· ·may include that moment, right, for that person to

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    ·2· ·respond to; that's a situation -- I am speaking
    ·3· ·generally, obviously that was not in that e-mail.
    ·4· ·If there is a moment in any given hearing or event
    ·5· ·that's going on that gets into the ether, right,
    ·6· ·that is the moment that people are talking about
    ·7· ·then that moment could be put into a panel --
    ·8· ·"hey, this is the moment that" -- again, I don't
    ·9· ·know exactly how that sound bite, why it was
    10· ·specifically chosen to be there to Joe, I can't
    11· ·answer that, but when I said "this was a moment
    12· ·that sort of made people pause, I want to play it
    13· ·for you" that would be indicative of something
    14· ·that people were talking about that day, on that
    15· ·particular day of hearings that we would want to
    16· ·play to inform the public of the moment that had
    17· ·sort of captured the ether.· Again, I can't answer
    18· ·you specifically, but to give you the general way
    19· ·of how things go; yeah.
    20· · · · · · · MR. SCHWEIKERT:· I am going to show you
    21· ·a document --
    22· · · · · · · (Stenographer advises Mr. Schweikert to
    23· ·put it in the chat box for the transcript.)
    24· · · · Q.· · While we are waiting, I will ask you a
    25· ·few more questions.· Ms. Burnett, when was the

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    ·2· ·last time you had any communication with Joe
    ·3· ·Lockhart?
    ·4· · · · A.· · I truthfully do not recall.· It would
    ·5· ·have been a casual conversation in the hallway.
    ·6· · · · Q.· · Did you communicate with him in any way
    ·7· ·in preparing for this deposition?
    ·8· · · · A.· · No.
    ·9· · · · Q.· · Are you aware that his deposition is
    10· ·scheduled to occur later today?
    11· · · · A.· · Yes.
    12· · · · Q.· · Did you make any effort to connect with
    13· ·him in some fashion to refresh your recollection
    14· ·about the event at issue which is the subject of
    15· ·your deposition, and will be the subject of his
    16· ·deposition later today?
    17· · · · · · · MS. BOLGER:· Objection to the form,
    18· ·asked and answered.
    19· · · · A.· · No.
    20· · · · Q.· · Do you know if Mr. Lockhart is
    21· ·represented by an attorney in this lawsuit?
    22· · · · A.· · I know nothing about Joe and this
    23· ·lawsuit, other than that he's involved in his
    24· ·capacity as contributor.
    25· · · · Q.· · Ms. Burnett, I have provided you a link

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    ·2· ·to a PDF document, Bates labeled CNN 1670 through
    ·3· ·1681.· Do you see that document on your device?
    ·4· · · · A.· · I do.
    ·5· · · · · · · MR. SCHWEIKERT:· I will mark that
    ·6· ·document as Plaintiff's Exhibit 49 --
    ·7· · · · · · · (Discussion regarding exhibit number.)
    ·8· · · · · · · MR. SCHWEIKERT:· I am going to show you
    ·9· ·a document Bates labeled CNN 1670 through 1681, I
    10· ·will mark that document as Plaintiff's Exhibit 48,
    11· ·and also note it had previously been marked in
    12· ·another deposition as Plaintiff's Exhibit 39.
    13· · · · · · · (Plaintiff's Exhibit No. 48 was
    14· · · · · · · marked for identification.)
    15· · · · Q.· · Ms. Burnett, do you recognize the
    16· ·document?
    17· · · · A.· · I do, it is a transcript of my show
    18· ·from the date in question.
    19· · · · Q.· · Is this the transcript that you
    20· ·reviewed in preparing for this deposition?
    21· · · · A.· · Yes, it is.
    22· · · · Q.· · You have the right to review it in its
    23· ·entirety before I ask you questions.· Would you
    24· ·like to do that or do you feel comfortable based
    25· ·upon your prior review?

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · A.· · I guess, to be honest with you, if you
    ·3· ·ask me the question am I allowed to refer to it?
    ·4· · · · · · · MS. BOLGER:· Yes, you can of course
    ·5· ·refer to the document.
    ·6· · · · Q.· · Yes, and as we have been discussing I
    ·7· ·am sort of focused on Mr. Lockhart's statements
    ·8· ·which are not throughout the entire broadcast.
    ·9· · · · · · · MS. BOLGER:· It is not like a binding
    10· ·contract which I'm sure Mr. Schweikert would
    11· ·agree.· If you want to answer his questions and
    12· ·then say "maybe I better read it," you can do
    13· ·that.· You can make the decision about whether you
    14· ·want to read the agreement (sic) but you don't
    15· ·have to commit for all times.
    16· · · · · · · THE WITNESS:· I understand.
    17· · · · A.· · I am going into the Lockhart, section,
    18· ·go ahead Michael.(sic)
    19· · · · Q.· · It's Mark, but that's okay.
    20· · · · A.· · I'm sorry.
    21· · · · Q.· · It's all right.· I'd like to direct
    22· ·your attention to the page Bates labeled CNN 1671,
    23· ·in particular the portion of the transcript of
    24· ·your broadcast that includes the sound bite of
    25· ·Mr. Dershowitz's presentation to Congress earlier

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·in the day.
    ·3· · · · · · · Do you see that?
    ·4· · · · A.· · Because my pages are labeled a little
    ·5· ·bit differently than yours -- let me just make
    ·6· ·sure.· So you're talking about after Laura Coates
    ·7· ·speaks, right Mark, then I say "so, Ryan, Alan
    ·8· ·Dershowitz I just played, forget what I said about
    ·9· ·a crime, abuse of power is too vague a term, blah,
    10· ·blah, blah" and then it played Professor
    11· ·Dershowitz.
    12· · · · · · · That's what we're talking about now?
    13· · · · Q.· · What do you mean your "pages are
    14· ·labeled differently" than mine?
    15· · · · A.· · I have the entire transcript in the --
    16· · · · Q.· · It is the second page.
    17· · · · A.· · It is a PDF, I have the entire
    18· ·transcript.
    19· · · · Q.· · Do you see the time stamp for 7:05:02?
    20· · · · A.· · My time stamps are based on military
    21· ·time, so 19:10.
    22· · · · Q.· · Correct.· Go to 19:05:02 please.
    23· · · · A.· · 19:05:02, so we are back with Senator
    24· ·Tester, correct?· My 19:05:02 is in the interview
    25· ·with Senator Jon Tester.

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · Q.· · Do you see that time stamp, 19:05:02?
    ·3· · · · A.· · I do.
    ·4· · · · Q.· · Right above is a statement attributed
    ·5· ·to you, Erin Burnett.
    ·6· · · · · · · Do you see that?
    ·7· · · · A.· · That's correct.· I am just making clear
    ·8· ·I'm in a different segment, I'm in the segment
    ·9· ·with Senator Jon Tester, not the segment with Joe
    10· ·Lockhart.
    11· · · · Q.· · Could you please read your statement
    12· ·shown in the transcript immediately before that
    13· ·time stamp?
    14· · · · A.· · Okay, and just to be clear I would
    15· ·clarify that it was a setup for a question as
    16· ·opposed to a statement.· So what I said was -- and
    17· ·I am reading as you request -- "Yes.· Well, it
    18· ·certainly has seemed that way.· I just wanted to -
    19· ·as you know - Alan Dershowitz, one of the
    20· ·President’s lawyers has been making the case that
    21· ·you need a crime, a statutory crime to impeach a
    22· ·president, that that's required.· Now, just a few
    23· ·moments ago, just before the dinner break that
    24· ·you're in right now, Senator, he stood up and
    25· ·seemed to acknowledge that many constitutional

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·scholars are finding that argument about a crime
    ·3· ·hard to stomach" -- "And he said something I want
    ·4· ·to play for you.· Here he is, Senator."
    ·5· · · · Q.· · Thank you.· Is it fair to say that
    ·6· ·prior to January 29, 2020 you understood that
    ·7· ·Mr. Dershowitz had been making a legal argument
    ·8· ·that a crime was required in order to impeach the
    ·9· ·president of the United States?
    10· · · · A.· · I mean, I would say, again in reference
    11· ·to these obviously lengthy comments he was making
    12· ·in his role in the impeachment as his manager
    13· ·here, that was one of the arguments that he put
    14· ·forth, which I obviously chose to mention here.
    15· · · · Q.· · According to the transcript of your
    16· ·broadcast you literally said, in part, quote,
    17· ·"Alan Dershowitz, one of the President’s lawyers
    18· ·has been making the case that you need a crime, a
    19· ·statutory crime to impeach a president, that
    20· ·that's required," end quote.
    21· · · · · · · Do you see that?
    22· · · · A.· · I see that.
    23· · · · Q.· · Were you referring to him having made
    24· ·that case during his opening statements earlier in
    25· ·the impeachment proceeding?

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · A.· · I cannot tell you exactly what I was
    ·3· ·referring to when I said that; I would have been
    ·4· ·watching hearings in realtime over the multiple
    ·5· ·days in which they occurred.· So in any given
    ·6· ·broadcast on any night it would have been about a
    ·7· ·combination of the key elements of the day that
    ·8· ·were worth highlighting and discussing, and points
    ·9· ·that had been made.· So I can't tell you exactly
    10· ·from where I took that video clip.
    11· · · · Q.· · But it is fair to say you were
    12· ·informing your viewers at this moment in the
    13· ·broadcast that Mr. Dershowitz had been making the
    14· ·case that a crime, a statutory crime, was required
    15· ·to impeach a president, right?
    16· · · · A.· · I would say Mr. Dershowitz made
    17· ·several, many arguments, some of which
    18· ·contradicted each other during his presentation;
    19· ·one of them was this point.
    20· · · · Q.· · The point that you characterized as
    21· ·Mr. Dershowitz making the case that a statutory
    22· ·crime was required to impeach a president, right?
    23· · · · · · · MS. BOLGER:· Objection to the form,
    24· ·asked and answered.· You may answer it again.
    25· · · · A.· · That is the point that I was making

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·right here, yes, I was playing a sound bite where
    ·3· ·he says that; I was merely pointing out that in
    ·4· ·the course of his presentation as one of the
    ·5· ·president's lawyers he made many points, some of
    ·6· ·which were seemingly confusing and contradictory.
    ·7· ·One of the points he made was this one, and I
    ·8· ·wanted to have the Senator respond to
    ·9· ·Professor Dershowitz's argument.
    10· · · · Q.· · Are you aware of whether the legal
    11· ·debate which Mr. Dershowitz was addressing was
    12· ·whether conduct less than a crime is sufficient as
    13· ·a matter of Constitutional law to impeach a
    14· ·president?
    15· · · · · · · MS. BOLGER:· Objection to the form.
    16· · · · A.· · I'm not sure I totally understand your
    17· ·question, Mark, but looking at the transcript
    18· ·here, the context was obviously whether abuse of
    19· ·power in and of itself would constitute an
    20· ·impeachable offense.
    21· · · · Q.· · President Trump was not charged in any
    22· ·of the articles of impeachment with a statutory
    23· ·crime, was he?
    24· · · · · · · MS. BOLGER:· Objection to the form,
    25· ·calls for a legal conclusion.· You can answer.

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · A.· · Yeah, I mean, as a lawyer you
    ·3· ·understand obviously that impeachment is not a
    ·4· ·legal standard, right, it is a political process
    ·5· ·in Congress.
    ·6· · · · Q.· · As a journalist who is committed to
    ·7· ·speaking to truth to power and ensuring that her
    ·8· ·audience receives a fair and accurate report of
    ·9· ·the news, did you understand while you were
    10· ·reporting on the impeachment trial that President
    11· ·Trump had been charged with, among other things,
    12· ·abuse of power which is not a statutory crime?
    13· · · · · · · MS. BOLGER:· Objection to the form.
    14· · · · A.· · Again, I'm not a lawyer so I don't want
    15· ·to go out on territory that I am not on, but
    16· ·impeachment is not a legal standard.
    17· · · · Q.· · You literally told your audience,
    18· ·according to the transcript we're reviewing, that
    19· ·despite not being a lawyer that you believed
    20· ·Professor Dershowitz's case he was making was that
    21· ·a statutory crime was required to impeach the
    22· ·president, right?
    23· · · · · · · MS. BOLGER:· Objection to the form.
    24· · · · A.· · Yes, that is one of the arguments that
    25· ·Professor Dershowitz made, but again, I would be

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·remiss if I didn't make it clear that he also at
    ·3· ·other times in the length of the many days that he
    ·4· ·was speaking, several days -- I don't know exactly
    ·5· ·how many it was -- say things which appeared to be
    ·6· ·confusing or contradictory to that point.
    ·7· · · · Q.· · So you found his presentation to
    ·8· ·Congress over the course of the impeachment
    ·9· ·proceeding to be confusing and contradictory, even
    10· ·though you admit that he was making a legal
    11· ·argument and you're not a lawyer, right?
    12· · · · · · · MS. BOLGER:· Objection to the form,
    13· ·misstates testimony.
    14· · · · A.· · I'm not really sure what your question
    15· ·is.· My job is to watch those hearings and be
    16· ·informed and inform the public on what happened,
    17· ·and to bring on subject matter experts to provide
    18· ·substantial, substantive analysis for viewers.
    19· · · · Q.· · Did you qualify your characterization
    20· ·of Mr. Dershowitz's case that he had been making
    21· ·during the impeachment trial as based upon your
    22· ·lay opinion because you are not a lawyer; did you
    23· ·do that?
    24· · · · · · · MS. BOLGER:· Objection to the form.
    25· · · · A.· · Could you ask that one more time, Mark,

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·so I could understand your phrasing?
    ·3· · · · Q.· · Sure.· I understand in response to my
    ·4· ·questions you're making it clear that you're not a
    ·5· ·lawyer and not qualified to provide a legal
    ·6· ·opinion, right?
    ·7· · · · A.· · I guess I would answer that question if
    ·8· ·I had lawyers on the program to provide their
    ·9· ·legal opinion.· Just looking at the transcript
    10· ·that you provided, when I say "I am not a lawyer"
    11· ·Ryan Goodman responds "I actually have taught at
    12· ·Harvard with Alan and I am a lawyer and I've never
    13· ·heard that argument in my life...It's the most
    14· ·absurd theory I've ever heard of."· So Ryan
    15· ·Goodman is the one providing that analysis, that
    16· ·is, of course, referring to the comments which
    17· ·Professor Dershowitz made in response to Ted
    18· ·Cruz's question.
    19· · · · Q.· · Right, but you --
    20· · · · A.· · But the reason I bring that up is
    21· ·because there are lawyers who are there to provide
    22· ·their analysis.
    23· · · · Q.· · But you don't recall being aware of
    24· ·what your panelists might say during that
    25· ·broadcast, and yet when you told your audience

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·about your opinion of the case that Mr. Dershowitz
    ·3· ·had been making during the impeachment trial you
    ·4· ·didn't tell them "I'm not a lawyer, this is just
    ·5· ·my lay opinion," did you?
    ·6· · · · · · · MS. BOLGER:· Objection to the form.
    ·7· · · · A.· · I don't believe I put forth an opinion.
    ·8· ·Professor Dershowitz had made a case that you need
    ·9· ·a crime, a statutory crime, and I wanted to make
    10· ·sure that people understood that at one point he
    11· ·had made that case, and I wanted to put his point
    12· ·out there so that Senator Tester could respond as
    13· ·to whether he thought that was compelling.
    14· · · · Q.· · He's consistently made that case that a
    15· ·crime was required to impeach a president
    16· ·throughout the entire duration of the impeachment
    17· ·proceeding, right?
    18· · · · · · · MS. BOLGER:· Objection to the form.
    19· · · · A.· · I'd have to say at the time I would
    20· ·have watched it live, and in my review
    21· ·subsequently in preparation for speaking to you,
    22· ·Mark, he was at times confusing and appeared to be
    23· ·somewhat contradictory to that; so no, I wouldn't
    24· ·say the way that you're characterizing it to me to
    25· ·be fully accurate.

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · Q.· · Do you recall if you informed your
    ·3· ·audience that you found his argument to be
    ·4· ·confusing and contradictory?
    ·5· · · · A.· · Well, I guess in the context of this
    ·6· ·program as I review it, right, I gave Senator
    ·7· ·Tester the chance to respond to Professor
    ·8· ·Dershowitz's point about statutory crime, and then
    ·9· ·in the panel we talked about something that
    10· ·Professor Dershowitz said which appeared to be
    11· ·confusing or contradictory to that, right, so
    12· ·various things he said were covered during the
    13· ·program.
    14· · · · Q.· · Following the portion of your words in
    15· ·the transcript we have been discussing, a video
    16· ·clip was played on your broadcast, right?
    17· · · · A.· · Yes, I can see it here.· You're
    18· ·referring to the panel with Joe Lockhart, Laura
    19· ·Coates --
    20· · · · Q.· · No, I am still referring to the 7:05
    21· ·time stamp.
    22· · · · A.· · I'm sorry, yes, I do see, yes; "Alan
    23· ·Dershowitz member of Trump's defense team" sound
    24· ·bite, correct.
    25· · · · Q.· · And a sound bite of Mr. Dershowitz's

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·presentation was played which reads quote, "I read
    ·3· ·you the list of 40 American presidents who have
    ·4· ·been accused of abuse of power.· Should every one
    ·5· ·of them be impeached?· Should every one of them
    ·6· ·have been removed from office?· It's too vague a
    ·7· ·term.· Reject my argument about crime.· Reject it
    ·8· ·if you choose to.· Do not reject my argument that
    ·9· ·abuse of power would destroy the impeachment
    10· ·criteria of the Constitution and turn it in the
    11· ·words of one of the senators of the Johnson trial
    12· ·to make every president, every member of the
    13· ·Senate, every member of Congress be able to define
    14· ·itself from within their own bosom," end quote.
    15· · · · · · · Do you see that?
    16· · · · A.· · I see that.
    17· · · · Q.· · What did you understand in your lay
    18· ·opinion to be Mr. Dershowitz's point in making
    19· ·those statements that I just read?
    20· · · · · · · MS. BOLGER:· Objection to the form.
    21· · · · A.· · So my lay opinion I don't see in here
    22· ·at all, right, it was merely a matter of if I was
    23· ·going to put on a democratic senator I wanted the
    24· ·senator to respond to one of the key points that
    25· ·Professor Dershowitz was put in for.

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · Q.· · Can you please read into the record for
    ·3· ·me the things you said on your broadcast
    ·4· ·immediately after that sound bite was played?
    ·5· · · · A.· · That would be, yes, at the end of the
    ·6· ·video clip, this is the question I asked Senator
    ·7· ·Tester, "Senator, so that argument is he sort of
    ·8· ·after making a passionate argument about crime
    ·9· ·saying reject it, I don't care.· Throw it out if
    10· ·you don't want it.· But if your standard is abuse
    11· ·of power, every single president would be
    12· ·impeached.· Do you find that argument compelling
    13· ·at all?"
    14· · · · Q.· · Thank you.· Do you recall if those
    15· ·statements and questions by you were part of the
    16· ·script for the program?
    17· · · · · · · MS. BOLGER:· Objection to the form.
    18· · · · A.· · I'm not sure exactly what you're asking
    19· ·Mark, but if you are asking whether I would have
    20· ·known I was going to ask that question before I
    21· ·asked it the answer is yes, because there is a
    22· ·sound bite in there.
    23· · · · Q.· · In the prompt to Senator Tester you do
    24· ·describe Mr. Dershowitz as making a passionate
    25· ·argument about rejecting the requirement of a

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·crime in order to impeach a president, right?
    ·3· · · · · · · MS. BOLGER:· Objection to the form,
    ·4· ·misquoted.
    ·5· · · · A.· · I am going back to it, sorry.
    ·6· · · · · · · MR. SCHWEIKERT:· For the record, I did
    ·7· ·not say I was quoting her.
    ·8· · · · Q.· · My question, ma'am, is in your
    ·9· ·statements following the sound bite you did
    10· ·describe what you believed to be a passionate
    11· ·argument by Mr. Dershowitz regarding; reject his
    12· ·position that a statutory crime is required to
    13· ·impeach a president, right?
    14· · · · · · · MS. BOLGER:· Objection to the form.
    15· · · · A.· · So all I can answer to you is this
    16· ·question was about this moment.
    17· · · · Q.· · My question was --
    18· · · · A.· · Right, so at one point when Professor
    19· ·Dershowitz said this, right, I would want to make
    20· ·sure to represent what someone said at one point
    21· ·in that day, right, so I would take this to force
    22· ·Senator Tester to respond to that point.
    23· ·Professor Dershowitz said other things at other
    24· ·points, we would discuss that in other places
    25· ·which, of course, we did during this program.

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · Q.· · In the portion of the transcript
    ·3· ·immediately following the sound bite you, in part,
    ·4· ·were telling your viewers that Mr. Dershowitz had
    ·5· ·argued that if abuse of power is the standard for
    ·6· ·impeachment then every single president could be
    ·7· ·impeached, right?
    ·8· · · · · · · MS. BOLGER:· Objection to the form.
    ·9· · · · A.· · I played the sound bite of what he said
    10· ·there.
    11· · · · Q.· · I didn't ask you if you played the
    12· ·sound bite, ma'am.
    13· · · · A.· · I can only tell you I played what he
    14· ·said.· Are you trying to get me to paraphrase what
    15· ·he said?
    16· · · · Q.· · All right --
    17· · · · A.· · I am a little confused because we have
    18· ·the exact words of what he said right here.
    19· · · · Q.· · I am focused on your words, ma'am.
    20· · · · A.· · And so, like I said, he made different
    21· ·arguments over the period of his presentation that
    22· ·were at times confusing.· One of the arguments
    23· ·that he made was the argument I played here, and
    24· ·asked Senator Tester to respond to.
    25· · · · Q.· · My question, ma'am, did you, following

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·the sound bite we have been discussing say, in
    ·3· ·part, quote, "so that argument is he sort of after
    ·4· ·making a passionate argument about crime saying
    ·5· ·reject it, I don't care.· Throw it out if you
    ·6· ·don't want it.· But if your standards is abuse of
    ·7· ·power, every single president would be impeached,"
    ·8· ·end quote.
    ·9· · · · · · · Right?
    10· · · · A.· · Yes, I read that to you, yes, that is
    11· ·what I said.
    12· · · · Q.· · When you made those statements on air
    13· ·to your audience, did you understand the point
    14· ·that Mr. Dershowitz was making that if conduct
    15· ·less than a crime is going be impeachable, such as
    16· ·abuse of power, then that could lead to
    17· ·circumstances where every single president would
    18· ·be impeached, right?
    19· · · · · · · MS. BOLGER:· Objection to the form,
    20· ·asked and answered.· You can answer it again.
    21· · · · A.· · That is one of the arguments that
    22· ·Professor Dershowitz made during his presentation,
    23· ·and that is the one I put here; yeah.
    24· · · · Q.· · If we go to the next page there is a
    25· ·time stamp 19:10.

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    ·2· · · · A.· · I see it.
    ·3· · · · Q.· · Above that there is a quote attributed
    ·4· ·to you, right?
    ·5· · · · A.· · Mm-hmm.
    ·6· · · · Q.· · Is that a "yes"?
    ·7· · · · A.· · Yes.
    ·8· · · · Q.· · You said at that approximate time
    ·9· ·quote, "So Ryan, Alan Dershowitz, I just played
    10· ·his whole, OK, forget what I said about a crime
    11· ·but abuse of power is too vague of a term. He had,
    12· ·arguably, even before that moment, the moment of
    13· ·the day, that sort of had people going, wait, what
    14· ·did he just say, what does this mean.· Let me play
    15· ·it for you," end quote.
    16· · · · · · · Did I read that correctly?
    17· · · · A.· · You read exactly what I am seeing on
    18· ·the transcript.
    19· · · · Q.· · Okay.· And then another sound bite was
    20· ·shown, right?
    21· · · · A.· · Uh-huh.
    22· · · · Q.· · Is that a "yes"?
    23· · · · A.· · Yes.
    24· · · · Q.· · In that sound bite Mr. Dershowitz said
    25· ·quote, "Every public official whom I know believes

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    ·2· ·that his election is in the public interest.· And
    ·3· ·mostly you're right, your election is in the
    ·4· ·public interest.· And if a president does
    ·5· ·something, which he believes will help him get
    ·6· ·elected in the public interest that cannot be the
    ·7· ·kind of quid pro quo that results in impeachment,"
    ·8· ·end quote.
    ·9· · · · · · · Is that right?
    10· · · · A.· · You read exactly what I'm seeing on the
    11· ·transcript.
    12· · · · Q.· · According to the transcript of your
    13· ·broadcast what did you say to your audience
    14· ·immediately following that sound bite?
    15· · · · A.· · I said -- I am reading from the
    16· ·transcript -- "I mean, I'm not a lawyer, I can't
    17· ·believe Alan Dershowitz would take that seriously
    18· ·if you heard that from someone else.· I mean, the
    19· ·translation is do whatever you need to do to win
    20· ·office.· If you think you're the best person for
    21· ·that office, it's okay."
    22· · · · Q.· · Do you recall Mr. Dershowitz making any
    23· ·arguments throughout the impeachment trial to the
    24· ·effect that a president can do whatever he needs
    25· ·to do to win office and so long as he thinks -- he

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    ·2· ·or she -- is the best person for that office, it's
    ·3· ·okay?
    ·4· · · · A.· · Well, that's what he said in the video
    ·5· ·clip prior to what I just read; yeah.
    ·6· · · · Q.· · It is not word-for-word what he said,
    ·7· ·is it?
    ·8· · · · · · · MS. BOLGER:· Objection to the form.
    ·9· · · · A.· · He said, "if a president does
    10· ·something, which he believes will help him get
    11· ·elected in the public interest that cannot be the
    12· ·kind of quid pro quo that results in impeachment."
    13· · · · · · · So I think my characterization is fair,
    14· ·and, of course, we had lawyers on who you can --
    15· ·obviously, I don't need to read it to you, Ryan
    16· ·Goodman then proceeds to say "it is the most
    17· ·absurd theory I've ever heard."
    18· · · · Q.· · You believe your characterization is
    19· ·fair and accurate, even though earlier in the
    20· ·broadcast you had explained Mr. Dershowitz's point
    21· ·that if abuse of power was the standard for
    22· ·impeachment then every single president could be
    23· ·impeached --
    24· · · · · · · MR. SCHWEIKERT:· Objection to the form.
    25· · · · Q.· · Is that right?

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · A.· · As I have said, Professor Dershowitz
    ·3· ·said things during his presentation which at times
    ·4· ·were confusing and contradictory, so he made
    ·5· ·different points, some of which could appear to be
    ·6· ·contradictory, but he made those points.· And our
    ·7· ·job is to air those points and inform the public
    ·8· ·with what he said, and give them an opportunity to
    ·9· ·hear people discuss them, which is what they're
    10· ·doing here in this panel.
    11· · · · Q.· · Do you agree that if portions of a
    12· ·broader presentation are taken out of context it
    13· ·is possible that an audience hearing those
    14· ·portions might misinterpret the point of the
    15· ·larger presentation?
    16· · · · · · · MS. BOLGER:· Objection to the form.
    17· · · · A.· · I guess the best way to answer your
    18· ·question, Mark, so as far as I understand it, is
    19· ·to say there were many hours and multiple days of
    20· ·hearings in which Professor Dershowitz presented
    21· ·himself.· So if viewers wanted to hear everything
    22· ·that he had to say in its totality with all
    23· ·context they could have watched them live on CNN
    24· ·when they aired.· And when they watch programs
    25· ·after the fact it is our job to go through and

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    ·2· ·pick some of the key and most important points,
    ·3· ·and in this program I picked multiple points which
    ·4· ·could be seen as contradictory to each other by
    ·5· ·the professor but -- that he made, that is up for
    ·6· ·the viewers to decide and our job to provide the
    ·7· ·context and panel to discuss the comments which is
    ·8· ·what we did here.
    ·9· · · · Q.· · Do you recall specifically picking
    10· ·these sound bites for the program?
    11· · · · · · · MS. BOLGER:· Objection to the form,
    12· ·asked and answered.
    13· · · · A.· · As I said, I don't recall exactly
    14· ·picking them, but the best way to answer your
    15· ·question, as I believe you intended, is that I had
    16· ·watched the hearings live and would have had a
    17· ·conversation with Susie Xu about what elements we
    18· ·felt were important to include in the program.
    19· · · · Q.· · In the sound bite that we just
    20· ·discussed, do the words "unlawful, illegal or
    21· ·purely corrupt" appear?
    22· · · · · · · MS. BOLGER:· Objection to the form.
    23· · · · A.· · They do not.
    24· · · · Q.· · Do you think in your role as a
    25· ·journalist speaking power to truth (sic) and

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·providing a fair and accurate report of the moment
    ·3· ·of the day to your audience that it might be
    ·4· ·important for them to understand that
    ·5· ·Mr. Dershowitz had, in fact, also said in response
    ·6· ·to Senator Ted Cruz's question that "the only
    ·7· ·thing that would make a quid pro quo unlawful is
    ·8· ·if the quo were illegal"?
    ·9· · · · · · · MS. BOLGER:· Objection to the form.
    10· · · · A.· · I believe the way we did this includes
    11· ·the core of what Professor Dershowitz said -- and
    12· ·I am reading through here the commentary where
    13· ·Ryan Goodman goes into some more details -- so I
    14· ·think it's, I feel very comfortable with how we
    15· ·did this; and again, in the context of someone
    16· ·watching this program they would have also seen
    17· ·what Professor Dershowitz said which I played to
    18· ·Senator Tester.
    19· · · · Q.· · But the way you did this allowed
    20· ·Mr. Joe Lockhart to subsequently say moments
    21· ·later, in part, quote "And what I thought when I
    22· ·was watching it was this is un-American.· This is
    23· ·what you hear from Stalin.· This is what you hear
    24· ·from Mussolini, what you hear from authority and
    25· ·from Hitler, from all of the authoritarian people

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·who rationalized and in some cases, genocide,
    ·3· ·based on what was in the public interest.· It was
    ·4· ·startling and I still can't believe he went on the
    ·5· ·floor of the Senate and made that argument," end
    ·6· ·quote.
    ·7· · · · · · · Right?
    ·8· · · · · · · MS. BOLGER:· What's the question?· Is
    ·9· ·there a question?
    10· · · · · · · MR. SCHWEIKERT:· Yes, there was; please
    11· ·refrain from making unnecessary comments.
    12· · · · · · · MS. BOLGER:· Objection to the form.
    13· · · · A.· · Okay, I am a bit confused.· I'm
    14· ·certainly not going to speak for Joe Lockhart, I
    15· ·can only speak for what I know occurred here.                     I
    16· ·am watching the hearings, I am also watching
    17· ·others watch the hearings via social media and
    18· ·things like that, specifically Twitter, where, as
    19· ·you obviously pointed out in Katie Carver's
    20· ·original e-mail Joe Lockhart had been Tweeting up
    21· ·a storm -- I don't know if those were her exact
    22· ·words -- but certainly Joe Lockhart would have
    23· ·been watching the hearings in their entirety and
    24· ·Joe Lockhart's comments would be based upon his
    25· ·interpretation of the hearings in the moment that

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·he thought mattered in however he perceived that
    ·3· ·to be; again, I know you will speak about that
    ·4· ·with him.
    ·5· · · · Q.· · You said, did you not, that the way you
    ·6· ·did this segment you believe was a fair and
    ·7· ·accurate report of the moment of the day to your
    ·8· ·audience, right?
    ·9· · · · A.· · Yes.
    10· · · · Q.· · The way in which you did this segment,
    11· ·including the sound bites that you played, were
    12· ·what Mr. Lockhart premised his comments upon which
    13· ·I just read into the record, right?
    14· · · · · · · MS. BOLGER:· Objection to the form.
    15· · · · A.· · Well, I am confident with how we
    16· ·presented it, I am confident with how we put it
    17· ·forth.· I can't speak for Joe Lockhart in terms of
    18· ·how he based his comments, but from what I read
    19· ·here and from the e-mail and knowing Joe
    20· ·Lockhart's job as a contributor, Joe Lockhart
    21· ·would have watched the entire hearing.· Joe
    22· ·Lockhart's first interaction with the hearings
    23· ·would not have been a sound bite he heard on my
    24· ·program.
    25· · · · Q.· · But it is possible that some of the

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    ·2· ·people who were watching your program while it
    ·3· ·aired may have been hearing these portions of
    ·4· ·Mr. Dershowitz's statements that you selected as
    ·5· ·sound bites for the first time, right?
    ·6· · · · · · · MS. BOLGER:· Objection to the --
    ·7· · · · A.· · Absolutely it is, and if they had not
    ·8· ·watched the hearings, and -- I think we did a good
    ·9· ·job.
    10· · · · Q.· · Wouldn't it have been fair and accurate
    11· ·to ensure those viewers that had not watched the
    12· ·entirety of Mr. Dershowitz's answer to Senator Ted
    13· ·Cruz's question to understand from the anchor who
    14· ·is speaking the truth to power that he had, in
    15· ·fact, explained in his opinion that the only thing
    16· ·that would make a quid pro quo unlawful is if the
    17· ·quo were in some way illegal, right?
    18· · · · · · · MS. BOLGER:· Objection to the form.
    19· · · · A.· · Again, I am very confident with how we
    20· ·cut and presented this.· I don't want to get into
    21· ·a legalese discussion with you, but I would direct
    22· ·you to what Ryan Goodman said in which he gets
    23· ·into the interest of winning re-election and some
    24· ·of the definition of what you're talking about,
    25· ·and I do that to make a point that our job is to

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·provide analysis, and people who can provide
    ·3· ·substantive commentary, right, of which all of the
    ·4· ·individuals on this panel did and are capable of
    ·5· ·doing.· So out of that sound bite the person who
    ·6· ·first responded was the lawyer, Ryan Goodman.
    ·7· · · · Q.· · You're referring to Mr. Goodman's
    ·8· ·comments and I am paraphrasing that he believed
    ·9· ·Mr. Lockhart's commentary was extreme, right?
    10· · · · · · · MS. BOLGER:· Objection to the form.· He
    11· ·didn't say anything about Mr. Lockhart.
    12· · · · A.· · I don't believe Ryan Goodman
    13· ·responded -- Ryan Goodman came out of the sound
    14· ·bite.· He commented on Mr. Dershowitz's theory as
    15· ·"the most absurd theory I've ever heard."· And
    16· ·then gets into the definition and Joe Lockhart
    17· ·comes in after that.
    18· · · · Q.· · I apologize.
    19· · · · A.· · I believe it's Scott Jennings the one
    20· ·you're referring to.
    21· · · · Q.· · Yes.· Are you aware of a moment after
    22· ·Mr. Lockhart had made his comments about Hitler
    23· ·and others in which Mr. Jennings said, in part --
    24· ·and I am reading from page CNN 1673 -- quote, "I
    25· ·don't think it is appropriate frankly to compare

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·the president of The United States to Stalin,
    ·3· ·Mussolini, Hitler and people who commit genocide,
    ·4· ·end quote.
    ·5· · · · · · · Right?
    ·6· · · · A.· · I do see that, I do see that, mm-hmm.
    ·7· ·I think, Mark, this is what I was referring to
    ·8· ·earlier, this is the realtime discussion that
    ·9· ·happened on the program about the use of the
    10· ·dictators' names.· So Jennings took issue and then
    11· ·Lockhart below that responds to say he did not
    12· ·compare the president to those individuals, he was
    13· ·talking about the argument and the
    14· ·rationalization, "is exactly the rationalization
    15· ·that these authoritarian dictators made," I am
    16· ·quoting from him and his response.· So he and
    17· ·Jennings did have the back and forth and the use
    18· ·of those names, and why Lockhart felt it was
    19· ·appropriate and important to make that point.
    20· · · · Q.· · Why didn't you interject and say
    21· ·anything similar to what Mr. Jennings said that
    22· ·the rhetoric Joe Lockhart was using was not
    23· ·appropriate for a fair and accurate presentation
    24· ·of the moment of the day to your audience?
    25· · · · · · · MS. BOLGER:· Objection to the form.

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · A.· · I can't put myself exactly back in that
    ·3· ·moment, Mark, but I would say that I understood
    ·4· ·Joe Lockhart's point to be that the argument and
    ·5· ·rationalization being put forth was an argument
    ·6· ·that he felt consistent with those authoritarian
    ·7· ·regimes.· So I understood Joe Lockhart's argument
    ·8· ·to be what it was; but Scott Jennings jumped in
    ·9· ·and made his point and they had their back and
    10· ·forth about it, so certainly that was very loud
    11· ·and clear to the audience.
    12· · · · Q.· · And if we look at the fourth page of
    13· ·the transcript around the time stamp 19:15:04.
    14· · · · A.· · I see it.
    15· · · · Q.· · That time stamp is printed after
    16· ·Mr. Lockhart had clarified his earlier comment,
    17· ·right?
    18· · · · A.· · Yes.· Joe Lockhart expounded upon his
    19· ·argument, and then 19:15:04; yes.
    20· · · · Q.· · And then you said quote, "As long as
    21· ·the end justify the means, then you're there," end
    22· ·quote.
    23· · · · · · · Right?
    24· · · · A.· · Yes, I see it on the transcript.
    25· · · · Q.· · What did you mean by that?

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    ·2· · · · A.· · I meant what I said.· This entire
    ·3· ·conversation such that I see it here, this back
    ·4· ·and forth with the panel specifically -- as
    ·5· ·opposed to Jon Tester which was obviously about
    ·6· ·different points -- is about the back and forth
    ·7· ·with Ted Cruz.
    ·8· · · · Q.· · Were you paraphrasing your
    ·9· ·understanding of Mr. Lockhart's commentary for
    10· ·your audience?
    11· · · · · · · MS. BOLGER:· Objection to the form.
    12· · · · A.· · I'm just looking here Mark.· It looks
    13· ·like, yes, that's what I am doing.· If you are
    14· ·looking at an interjection at that moment -- we
    15· ·could certainly play the tape and I could watch
    16· ·it -- but again, my apologies, I can't put myself
    17· ·back in that exact moment reading this; it looks
    18· ·like an interjection which would be sort of an
    19· ·exclamation point on what the person was saying.
    20· · · · Q.· · Do you believe that you were being
    21· ·objective in making a statement in paraphrasing
    22· ·Joe Lockhart to the effect that so long as the end
    23· ·justify the means you can do whatever you want and
    24· ·not be impeached?
    25· · · · · · · MS. BOLGER:· Objection to the form.

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    ·2· · · · A.· · Well, obviously what I exactly said "as
    ·3· ·long as the end justify the means, then you're
    ·4· ·there," just reading it.· Yeah, I would say that
    ·5· ·would be an objective, sort of a you're quick in
    ·6· ·the moment, right, that's what live television is,
    ·7· ·a summary of what Lockhart said.
    ·8· · · · Q.· · And you believe that to be true, even
    ·9· ·though moments earlier in the show you had
    10· ·informed your audience that the case
    11· ·Mr. Dershowitz had been making throughout the
    12· ·impeachment proceeding was that a statutory crime
    13· ·was required for impeachment, right?
    14· · · · · · · MS. BOLGER:· Objection to the form.
    15· · · · A.· · Again, I guess the way to answer your
    16· ·question is that Professor Dershowitz had made
    17· ·various arguments.· At the time, I'm watching them
    18· ·in realtime, "okay, you said this and then you
    19· ·said this, these two things are different."· Both
    20· ·of the points of view are present in this program,
    21· ·so you would have heard the statutory crime
    22· ·argument, just as you would have heard the
    23· ·response to Ted Cruz.
    24· · · · · · · I will say, Mark, in retrospect now
    25· ·looking back on that day I still think a lot of

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·what the Professor said that day was confusing and
    ·3· ·made different points, probably perfectly natural
    ·4· ·for someone to make different points during a
    ·5· ·presentation which may seem contradictory or
    ·6· ·confusing, but that is what -- even looking back
    ·7· ·on it now I still have that same impression.
    ·8· · · · Q.· · But in your role as an anchor you
    ·9· ·didn't explain to your audience that you found the
    10· ·argument to be confusing and subject to possibly
    11· ·more than one interpretation.· You, in fact,
    12· ·paraphrased Mr. Lockhart by saying quote, "as long
    13· ·as the end justify the means, then you're there,"
    14· ·end quote.
    15· · · · · · · Right?
    16· · · · · · · MS. BOLGER:· Objection to the form of
    17· ·the question.
    18· · · · A.· · No, I guess since we are talking about
    19· ·the totality now of two segments I would say I
    20· ·presented a sound bite of Professor Dershowitz
    21· ·saying his point about a statutory crime, and I
    22· ·presented a sound bite of Ted Cruz talking about
    23· ·actions being justified in the interest of
    24· ·re-election.· So the inconsistency such that it is
    25· ·was in the sound bites of the professor himself.

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · Q.· · Do you see in the transcript where
    ·3· ·Mr. Lockhart said, in part, in his first comments
    ·4· ·after the sound bite that quote, "that doesn't
    ·5· ·give you a license to commit crimes or do things
    ·6· ·that are unethical," end quote?
    ·7· · · · · · · MS. BOLGER:· Objection to the form.
    ·8· · · · A.· · I am looking for it here...I see that.
    ·9· · · · Q.· · So you believe it was a fair and
    10· ·accurate report of the moment of the day to inform
    11· ·your audience that although Mr. Dershowitz had
    12· ·been making the case previously that a statutory
    13· ·crime was required for impeachment, you now
    14· ·believed, based upon some of the statements you
    15· ·aired on your program by Mr. Dershowitz, that a
    16· ·president had a license to commit crimes and not
    17· ·be impeached, right?
    18· · · · A.· · Okay, let me answer that carefully.
    19· ·Those were Joe's words, not mine, but in terms of
    20· ·the program all I can say is that Professor
    21· ·Dershowitz said things that appear confusing,
    22· ·possibly contradictory at different points.· So in
    23· ·the light of one given day, back to the earlier
    24· ·conversation which you so carefully set up, right,
    25· ·in the way we produce things you're watching what

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·happens on a given day, and your job is in the
    ·3· ·moment to give people what are the key points,
    ·4· ·what are the key things that were said.· My job is
    ·5· ·not to make Professor Dershowitz's argument for
    ·6· ·him or to in every instance say "oh, but he also
    ·7· ·said this, and he said this, but he said this."
    ·8· ·"He said this" -- "what do we think" -- "he also
    ·9· ·said this" -- what do you think" -- and that's
    10· ·what you're seeing reflected here in this show
    11· ·transcript.
    12· · · · Q.· · But you did say, did you not, quote "as
    13· ·long as the end justify the means, then you're
    14· ·there," end quote.
    15· · · · · · · Right?
    16· · · · · · · MS. BOLGER:· Objection to the form.
    17· · · · A.· · So, I think we need to watch the video
    18· ·for how that transcribed, but as I have said that
    19· ·looks like an interjection which was made to sort
    20· ·of say "okay, here's a summary of what Joe just
    21· ·said."
    22· · · · Q.· · I did not transcribe this, this was a
    23· ·CNN document that was provided in this litigation,
    24· ·but according to the transcript provided by CNN of
    25· ·your broadcast you did say, did you not, quote,

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·"as long as the end justify the means, then you're
    ·3· ·there," end quote.
    ·4· · · · · · · Right?
    ·5· · · · · · · MS. BOLGER:· Objection to --
    ·6· · · · A.· · Yes, what I am trying to say to you --
    ·7· ·sorry, maybe you're not understanding what I'm
    ·8· ·trying to say -- when you watch something like
    ·9· ·that on video in a conversational format sometimes
    10· ·when you -- so if I say to you "hey Mark, I think
    11· ·we should go downstairs" -- "yeah, go downstairs,
    12· ·right."· Sometimes when you're having a
    13· ·conversation with someone the way you see it play
    14· ·is important in terms of how you read it.· So what
    15· ·I am saying is the best I can see from the
    16· ·transcript is that it looks like what I am doing
    17· ·there is injecting with a summary of what Joe
    18· ·said.
    19· · · · Q.· · And it's possible that a reasonable
    20· ·person watching your broadcast, who heard you make
    21· ·that statement, could conclude that Erin Burnett
    22· ·believed Mr. Dershowitz had the made the case that
    23· ·a president could commit crimes and not be
    24· ·impeached, right?
    25· · · · · · · MS. BOLGER:· Objection to the form.

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · A.· · I think people would watch the totality
    ·3· ·of the program.· Ultimately, Professor
    ·4· ·Dershowitz's words and what Professor Dershowitz
    ·5· ·said on the floor of the Senate is what we're
    ·6· ·talking about here, so these are things that he
    ·7· ·said that are being discussed.
    ·8· · · · · · · MS. BOLGER:· Mark, while there is no
    ·9· ·pending question I don't know what your plan is,
    10· ·but I could use a five minute break whenever --
    11· · · · Q.· · But you do agree --
    12· · · · · · · MS. BOLGER:· Did you hear me?
    13· · · · · · · MR. SCHWEIKERT:· Yes, I said in a
    14· ·moment.
    15· · · · · · · MS. BOLGER:· I didn't hear you.
    16· · · · Q.· · But you do agree, Ms. Burnett, the
    17· ·totality of Mr. Dershowitz's answer to the
    18· ·questions posed by Senator Ted Cruz were not
    19· ·presented in your broadcast at any time before
    20· ·Mr. Lockhart provided his commentary in which he
    21· ·referenced Hitler and other authoritarian
    22· ·dictators, right?
    23· · · · · · · MS. BOLGER:· Objection to the form.
    24· · · · A.· · As I've answered your question I can't
    25· ·speak exactly to where the ins and outs were for

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·any given sound bite.· But if anybody had wanted
    ·3· ·to watch the totality of what Professor Dershowitz
    ·4· ·said on multiple days, all of that aired live on
    ·5· ·CNN in full.
    ·6· · · · · · · MR. SCHWEIKERT:· Off the record.
    ·7· · · · · · · THE VIDEOGRAPHER:· We are off the
    ·8· ·record, the time is 1:13 p.m. Eastern time.
    ·9· · · · · · · (Recess.)
    10· · · · · · · THE VIDEOGRAPHER:· We are back on the
    11· ·record, the time is 1:22 p.m. Eastern time.
    12· · · · · · · MR. SCHWEIKERT:· Ms. Burnett, I am
    13· ·going to put in the Dropbox a link to a document
    14· ·in the chat.· I am showing you a document I will
    15· ·remark as Plaintiff's Exhibit 49, which was
    16· ·previously marked Plaintiff's Exhibit 38 in a
    17· ·prior deposition, and is Bates labeled CNN 719
    18· ·through 721.
    19· · · · · · · (Plaintiff's Exhibit No. 49 was
    20· · · · · · · marked for identification.)
    21· · · · Q.· · Please take a moment, review the
    22· ·document, and let me know if you have seen it
    23· ·before.
    24· · · · A.· · I was aware this would, as part of
    25· ·the -- preparing to speak with you I was aware of

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·this document.· I don't recall any awareness of it
    ·3· ·prior to this point.
    ·4· · · · Q.· · But you have seen this document before,
    ·5· ·right?
    ·6· · · · A.· · Yes, in the context of this case.
    ·7· · · · Q.· · Is Plaintiff's Exhibit 49 an e-mail
    ·8· ·chain in which Ms. Rebecca Samuels, one of the
    ·9· ·segment producers for your show, sent an e-mail to
    10· ·you, Susie Xu and Andrew Haag on January 30th at
    11· ·approximately 11:25 a.m.?
    12· · · · A.· · Yes, I see it.
    13· · · · Q.· · Do you see that in Ms. Rebecca Samuels'
    14· ·e-mail to you, Susie Xu and Andrew Haag she writes
    15· ·quote, "He's just nuts," end quote?
    16· · · · A.· · I see that.
    17· · · · Q.· · Is it your understanding that
    18· ·Ms. Rebecca Samuels was referring to Professor
    19· ·Dershowitz?
    20· · · · A.· · Yes.· To Professor Dershowitz's Tweet
    21· ·thread, to the trail; I am looking at it, yes.
    22· · · · Q.· · His Tweet trail was "nuts" according to
    23· ·Rebecca Samuels?
    24· · · · A.· · That's what it appears she's referring
    25· ·to, I'm not -- the thing below is Professor

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·Dershowitz's defense of his comments.
    ·3· · · · Q.· · Did you ever have any other
    ·4· ·communications with anyone who received
    ·5· ·Ms. Rebecca Samuels' e-mail about Mr. Dershowitz
    ·6· ·being nuts?
    ·7· · · · · · · MS. BOLGER:· Objection to the form.
    ·8· · · · A.· · I don't have any recollection at all of
    ·9· ·this e-mail or any conversations about it.
    10· · · · Q.· · Would you be offended if someone was to
    11· ·refer to you as nuts?
    12· · · · A.· · It would depend; probably not.
    13· · · · Q.· · That would be true if somebody believed
    14· ·that your presentation of the news during a
    15· ·particular broadcast was nuts, is that right?
    16· · · · · · · MS. BOLGER:· Objection to the form.
    17· · · · A.· · I suppose, yes, it could frustrate me
    18· ·for sure; absolutely, it could frustrate me.
    19· · · · Q.· · Do you know who Jeff Zucker is?
    20· · · · A.· · Of course, yes.
    21· · · · Q.· · He was the president of CNN at the time
    22· ·of your broadcast we have been discussing?
    23· · · · A.· · Yes.
    24· · · · Q.· · Do you recall ever being aware that
    25· ·Mr. Zucker was of the opinion around that time

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·that Mr. Dershowitz's presentation to Congress was
    ·3· ·un-American?
    ·4· · · · · · · MS. BOLGER:· Objection to the form.
    ·5· · · · A.· · I'm sorry, I just spaced out.· Could
    ·6· ·you say that one more time, Mr. Zucker said
    ·7· ·something about un-American?
    ·8· · · · · · · MR. SCHWEIKERT:· Ellen, could you
    ·9· ·please?
    10· · ·(The following was read from the record by the
    11· ·stenographer:· "Q.· Do you recall ever being aware
    12· · ·that Mr. Zucker was of the opinion around that
    13· · · ·time that Mr. Dershowitz's presentation to
    14· · · · · · · Congress was un-American?")
    15· · · · A.· · No.
    16· · · · Q.· · Do you recall Mr. Lockhart using the
    17· ·word "un-American" in his comments about Professor
    18· ·Dershowitz during the broadcast of your program on
    19· ·January 29th?
    20· · · · A.· · One second, Mark, I am going back in
    21· ·the transcript to read it, I want to be sure I see
    22· ·it myself before I say it on the record (reading.)
    23· · · · · · · Yes, I see it.
    24· · · · Q.· · You see in the transcript from your
    25· ·broadcast that is at issue Mr. Lockhart referring

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·to Alan Dershowitz's presentation to Congress on
    ·3· ·that day as "un-American," right?
    ·4· · · · A.· · I see Joe Lockhart's sentence, "And
    ·5· ·what I thought when I was watching it was this is
    ·6· ·un-American," is the quote I see in the
    ·7· ·transcript.
    ·8· · · · Q.· · Do you recall having that thought occur
    ·9· ·to you approximately two years ago during the live
    10· ·broadcast?
    11· · · · · · · MS. BOLGER:· Objection to the form.
    12· · · · A.· · I'm sorry.· Are you saying do I
    13· ·remember that he said that?· Do I remember him
    14· ·having said that without having read this
    15· ·transcript; is that what you're asking?
    16· · · · Q.· · I understood your recollection of
    17· ·events around this time was very little, and I
    18· ·believe you just said you recall thinking that
    19· ·Mr. Dershowitz's presentation that day was
    20· ·un-American, is that right?
    21· · · · · · · MS. BOLGER:· No, that's --
    22· · · · A.· · No, no -- I just read a quote from Joe
    23· ·Lockhart in the transcript.· You asked me "did he
    24· ·say that" and I went to see it in the transcript.
    25· ·I read to you what Joe Lockhart said; sorry if

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·that wasn't clear.
    ·3· · · · Q.· · As far as you're aware, did anyone tell
    ·4· ·Joe Lockhart to use particular words in his
    ·5· ·commentary about Professor Dershowitz's statements
    ·6· ·to Congress earlier that day?
    ·7· · · · · · · MS. BOLGER:· Objection to the form.
    ·8· · · · A.· · No, no.
    ·9· · · · Q.· · You don't recall having any advanced
    10· ·notice, aside from what you may have seen in the
    11· ·Tweets that were forwarded to you in an e-mail of
    12· ·what Joe Lockhart was going to say, when you asked
    13· ·him to provide commentary on that day, is that
    14· ·right?
    15· · · · A.· · That's right.
    16· · · · Q.· · Have you spoken to Mr. Zucker at any
    17· ·time since he left his employment with CNN?
    18· · · · A.· · I have, but not about this topic.
    19· · · · Q.· · When was the last time you spoke with
    20· ·him?
    21· · · · A.· · I'd have to check, I speak with him
    22· ·fairly regularly.
    23· · · · Q.· · What is "fairly regularly" to you?
    24· · · · A.· · Oh gosh, I don't know.· I would have to
    25· ·look.· But, you know, check in with him

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    ·2· ·periodically I guess I would say; it depends.· It
    ·3· ·is all personal in nature.
    ·4· · · · Q.· · During January of 2020 was it customary
    ·5· ·for you to communicate with Mr. Zucker via text
    ·6· ·message with respect to your job as an anchor for
    ·7· ·CNN?
    ·8· · · · A.· · No.· I mean Mr. Zucker did communicate
    ·9· ·with people, right, he was a very, very present
    10· ·person because he cared deeply about the content,
    11· ·but no, talking about segments or content in the
    12· ·show regularly; no.
    13· · · · Q.· · Are you aware of whether Mr. Zucker had
    14· ·regular morning conference calls around the time
    15· ·of the broadcast at issue?
    16· · · · A.· · So there is a daily conference call in
    17· ·the morning, I am not on it, Mr. Zucker was --
    18· ·again, you would have to ask others -- but he was
    19· ·regularly on it; but if you want the right word to
    20· ·describe the frequency with which he was on it and
    21· ·how he was on it, I am the wrong person because I
    22· ·am not on it.
    23· · · · Q.· · Was there a meeting at approximately
    24· ·4:30 p.m. with Jeffrey Zucker in connection with
    25· ·your broadcast later in the evening of

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·January 29th?
    ·3· · · · · · · MS. BOLGER:· Objection to the form.
    ·4· · · · A.· · Let me answer your question to give you
    ·5· ·a bit more color that may be helpful.· There was a
    ·6· ·daily call at 4:30, it was not for our show, it
    ·7· ·was for all the shows.· So all the shows were on
    ·8· ·the call, it was a regular editorial call where
    ·9· ·people would go through what was in their
    10· ·programs.· So, I would not have been on that call,
    11· ·I was never on that call, but the executive
    12· ·producer or a number two on the shows would
    13· ·usually be on the call, as well as bureau chiefs;
    14· ·things like that.
    15· · · · Q.· · As a matter of custom around that time,
    16· ·did you have any regular interactions with Jeffrey
    17· ·Zucker with respect to your role in reporting the
    18· ·news on your show?
    19· · · · · · · MS. BOLGER:· Objection to the form.
    20· · · · A.· · You're talking about over that time
    21· ·frame, on that day or both, Mark?
    22· · · · Q.· · As a matter of custom around that
    23· ·time -- I understand there were customary 9:30 and
    24· ·4:30 calls -- did you have any customary
    25· ·interaction with him in connection with preparing

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    ·2· ·for your broadcast?
    ·3· · · · A.· · No, no, certainly would have been
    ·4· ·nothing customary.· If there was any interaction
    ·5· ·it would have been impromptu, and I don't recall
    ·6· ·it.
    ·7· · · · · · · MR. SCHWEIKERT:· I am going to provide
    ·8· ·you with a document, please take a moment to
    ·9· ·review the document I've been provided which I
    10· ·will mark as Plaintiff's Exhibit 50 to this
    11· ·deposition.
    12· · · · · · · (Plaintiff's Exhibit No. 50 was
    13· · · · · · · marked for identification.)
    14· · · · A.· · I am skimming over it, I understand the
    15· ·general point.· Maybe if you ask the question, any
    16· ·specific questions, then I can go into certain
    17· ·parts to refer perhaps; thanks.
    18· · · · Q.· · I will share my screen with you to make
    19· ·this perhaps easier.
    20· · · · A.· · Okay.
    21· · · · Q.· · I am showing you an excerpt of the
    22· ·document I marked Plaintiff's Exhibit 50, it is a
    23· ·printout from the Wall Street Journal's website of
    24· ·an article entitled "Wrapping Up Impeachment" by
    25· ·the editorial board dated January 30, 2020.

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· · · · · · · Do you see that?
    ·3· · · · A.· · Yes, I do.
    ·4· · · · · · · MS. BOLGER:· Objection to the form of
    ·5· ·the question.
    ·6· · · · · · · MR. SCHWEIKERT:· What's wrong with the
    ·7· ·form of the question?
    ·8· · · · · · · MS. BOLGER:· It is not an article.
    ·9· · · · · · · MR. SCHWEIKERT:· What is it?
    10· · · · · · · MS. BOLGER:· It is not an article, it
    11· ·is an editorial.
    12· · · · · · · MR. SCHWEIKERT:· I did say it was by
    13· ·the editorial board.
    14· · · · · · · MS. BOLGER:· It is not an article, it
    15· ·is an editorial.· You can ask her the question.
    16· · · · Q.· · I am going to read an excerpt from this
    17· ·piece published on January 30, 2020 and ask you if
    18· ·you agree with the excerpt, okay?
    19· · · · A.· · Okay, go ahead.
    20· · · · Q.· · Do you agree with the following
    21· ·assertions:· Quote, "the media claim that defense
    22· ·lawyer Alan Dershowitz said a President can do
    23· ·anything to further his re-election as long he
    24· ·thinks it is in the national interest.· This isn't
    25· ·what he said.· The Harvard professor said

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    ·1· · · · · · · · · · ·ERIN BURNETT
    ·2· ·explicitly that a President can be impeached for
    ·3· ·criminal acts.· He could be impeached for
    ·4· ·soliciting a financial bribe, for example, or
    ·5· ·seeking a campaign contribution from a foreign
    ·6· ·source.· He could also be impeached for exceeding
    ·7· ·his constitutional authority," end quote.
    ·8· · · · · · · Do you agree with those assertions?
    ·9· · · · A.· · I will answer the question I think as
    10· ·Kate referred; this is an editorial, this is an
    11· ·opinion.
    12· · · · Q.· · So you disagree with those assertions?
    13· · · · · · · MS. BOLGER:· Objection to the form.
    14· · · · A.· · I am not agreeing or disagreeing, I'm
    15· ·saying that what you're presenting me with is
    16· ·something by an editorial board, it's an opinion,
    17· ·so it is an opinion by the editorial board of what
    18· ·they say the media claim, what they think he said
    19· ·so --
    20· · · · Q.· · And I am asking you --
    21· · · · A.· · It would be inappropriate, it is just
    22· ·not --· it's an editorial, it is a point of view.
    23· ·It's as if in the context we were talking about
    24· ·doing a panel, you put someone on with that point
    25· ·of view and you put someone on with another point

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    ·2· ·of view; right, point of view.
    ·3· · · · Q.· · And I am asking, do you agree with the
    ·4· ·point of view expressed in the excerpt that I just
    ·5· ·read to you?
    ·6· · · · A.· · I think the best way to answer your
    ·7· ·question in terms of what you're asking is, I
    ·8· ·think the way I presented it on my program is fair
    ·9· ·and accurate.
    10· · · · Q.· · So "no," you disagree with the
    11· ·assertions that I just read to you, right?
    12· · · · · · · MS. BOLGER:· Objection to the form.
    13· · · · A.· · I'm not commenting on the editorial at
    14· ·all, I'm saying I stand by what we did and there
    15· ·were various points of view presented in the
    16· ·program.· The program presented things Professor
    17· ·Dershowitz said, various things that he said.· So
    18· ·I am not going to agree or disagree with what
    19· ·you're presenting, I merely am pointing out it is
    20· ·a point of view of an editorial board of a
    21· ·newspaper.
    22· · · · Q.· · I am going to represent I am entitled
    23· ·to your opinion as a lay witness, it is a simple
    24· ·"yes" or "no."· I understand what you're telling
    25· ·me to be you do not agree with what I am

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    ·2· ·paraphrasing as the assertion that the media
    ·3· ·mischaracterized Mr. Dershowitz's answer to
    ·4· ·Senator Ted Cruz's questions, right?
    ·5· · · · · · · MS. BOLGER:· Objection to the form,
    ·6· ·that's actually not what she's telling you.
    ·7· · · · A.· · I am telling you I stand by how we
    ·8· ·presented the various things that Alan Dershowitz
    ·9· ·said.· I am comfortable with how we presented it,
    10· ·that's what I am telling you.
    11· · · · Q.· · I am going to --
    12· · · · A.· · I think you are putting a lot of
    13· ·emphasis on the word "claim" that I'm not
    14· ·comfortable with.
    15· · · · Q.· · You mean my vocal intonation?
    16· · · · A.· · No, I mean you're trying to get me to
    17· ·comment on something about the media claiming.
    18· ·I'm telling you what we did was cite Professor
    19· ·Dershowitz's words; not our claim, but his words.
    20· · · · Q.· · But you did not play on your broadcast,
    21· ·before Joe Lockhart started talking about Hitler
    22· ·and Stalin and Mussolini, all of the words that
    23· ·Mr. Dershowitz used in answering Senator Ted
    24· ·Cruz's questions, right?
    25· · · · · · · MS. BOLGER:· Objection to the form.

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    ·2· · · · A.· · I know --
    ·3· · · · Q.· · It's a "yes" or "no" --
    ·4· · · · · · · MS. BOLGER:· Let the witness answer.
    ·5· · · · · · · MR. SCHWEIKERT:· Ms. Bolger, I don't
    ·6· ·want to bother Ms. Burnett with another
    ·7· ·deposition, you have already instructed her not to
    ·8· ·tell me her salary and I will get a court order to
    ·9· ·come back and answer questions to which I'm
    10· ·entitled to an answer.· And I believe a question
    11· ·calling for a "yes" or "no" should be answered
    12· ·with a "yes" or "no."· If the witness feels the
    13· ·need to explain she may do so, but you repeatedly
    14· ·coaching, whether on the record or off the record,
    15· ·your witnesses to evade direct questions is
    16· ·improper, and you know it, and I will strongly
    17· ·suggest you refrain from doing so because there
    18· ·are ample transcriptions of formal court
    19· ·proceedings in this case in which you continue to
    20· ·interrupt my depositions with improper speaking
    21· ·objections, argumentative objections and
    22· ·suggestive statements, all of which you know are
    23· ·improper because when you were taking the
    24· ·deposition of Carolyn Cohen at which I was
    25· ·defending you jumped on my case if I so much as

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    ·2· ·said anything beyond "objection, form."
    ·3· · · · · · · So it is very hypocritical for you to
    ·4· ·now suddenly, when the shoe is on the other foot,
    ·5· ·behave as if the rules do not apply to you.· And
    ·6· ·again, I am going to raise all of this conduct
    ·7· ·with the court, and I don't want to bother
    ·8· ·Ms. Burnett with our disagreement as lawyers and I
    ·9· ·would ask that she answer the direct question
    10· ·posed to her, if she needs to explain she can, but
    11· ·I am trying to be respectful that she is a very
    12· ·busy professional and has better things to do than
    13· ·listen to you and I go on and on incessantly.
    14· · · · · · · MS. BOLGER:· I will just repeat my
    15· ·instruction which was "please let the witness
    16· ·answer."
    17· · · · A.· · So Mark, all I can say in our program
    18· ·we played various things that Professor Dershowitz
    19· ·said.· I think what you're asking me --
    20· · · · Q.· · Let me put it this way -- I want to get
    21· ·you out of here Ms. Burnett --
    22· · · · · · · MS. BOLGER:· Don't interrupt the
    23· ·witness --
    24· · · · A.· · You're asking me to say "yes" or "no"
    25· ·to the word "claim" and that is where in the

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    ·2· ·context of this opinion, the best I can do to give
    ·3· ·you an honest answer is I see what The Wall Street
    ·4· ·Journal is saying here as a valid opinion and
    ·5· ·their interpretation of things as the editorial
    ·6· ·board.· So if I was producing a show about this
    ·7· ·thing, I could put someone on from the editorial
    ·8· ·board and they can come on and make their point.
    ·9· ·That's what we do.
    10· · · · Q.· · I think we are talking past each other,
    11· ·ma'am.· I had moved onto another question.
    12· · · · A.· · Okay, I'm sorry.· What is the other
    13· ·question?· Perhaps I didn't hear it.
    14· · · · Q.· · Your program did not air the entirety
    15· ·of Mr. Dershowitz's answers to Senator Ted Cruz's
    16· ·questions at any time before Mr. Lockhart provided
    17· ·his commentary in which he referenced Hitler and
    18· ·Stalin and Mussolini, correct?
    19· · · · · · · MS. BOLGER:· Objection to the form.
    20· · · · A.· · I guess, no, we played the sound bite
    21· ·that we played, it's there on the transcript; the
    22· ·portion that we played, yes.
    23· · · · Q.· · A couple of more and then we can get
    24· ·out of here, Ms. Burnett; I appreciate your time.
    25· ·I would like you to let me know if you agree or

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    ·2· ·disagree with the following assertion.
    ·3· · · · A.· · Okay.
    ·4· · · · Q.· · "Some Democratic senators and other
    ·5· ·critics accused him of suggesting that even Nixon
    ·6· ·was not impeachable, despite his clear crimes.
    ·7· ·But that accusation is incompatible with Mr.
    ·8· ·Dershowitz's main argument:· That an impeachable
    ·9· ·'high crime and misdemeanor' requires an
    10· ·indictable offense," end quote.
    11· · · · · · · MS. BOLGER:· Again, I am going to again
    12· ·ask as I did yesterday that you show what you're
    13· ·reading to the witness.
    14· · · · A.· · Who wrote it?· Where did it appear?
    15· · · · Q.· · Do you agree or disagree with those
    16· ·sentences?
    17· · · · A.· · You would have to read that again;
    18· ·first of all, it gets a little confusing just
    19· ·hearing it.· I think the best way to answer what
    20· ·you're getting at from where I sit as the anchor
    21· ·of a program is to bring on people of various
    22· ·opinions to discuss them.· I don't sit here with a
    23· ·firm opinion of what is impeachable and what
    24· ·isn't, that's not my job.
    25· · · · Q.· · But you did paraphrase Joe Lockhart

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    ·2· ·during the segment at issue by stating quote, "as
    ·3· ·long as the end justify the means, then you're
    ·4· ·there," end quote.
    ·5· · · · · · · Right?
    ·6· · · · · · · MS. BOLGER:· Objection to the form.
    ·7· · · · A.· · I paraphrased Joe Lockhart saying that.
    ·8· · · · Q.· · I am going to ask you if you disagree
    ·9· ·or agree with the following assertion:· "CNN" --
    10· ·your employer -- "presented an abridgement of
    11· ·Dershowitz's answer to Senator Cruz's question.
    12· ·The abridgement is not accurate to the extent that
    13· ·it omitted a crucial qualification that an illegal
    14· ·motive for a quid pro quo would be corrupt.· As a
    15· ·result, the commentator's statements that
    16· ·Dershowitz believes a president can do anything,
    17· ·even commit crimes that would help his
    18· ·re-election, are not based upon a fair and
    19· ·accurate summary of Dershowitz's statement to the
    20· ·Senate."
    21· · · · · · · Do you agree or disagree?
    22· · · · · · · MS. BOLGER:· Objection to the form.                     I
    23· ·think you should show the witness what you're
    24· ·looking at.
    25· · · · A.· · Obviously, I hope I made it clear that

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    ·2· ·I think that we did a fair and accurate job of
    ·3· ·what we did, and how it was presented, and who we
    ·4· ·had on to discuss it.
    ·5· · · · Q.· · So you disagree with that assertion
    ·6· ·that included a clause that it was not a fair and
    ·7· ·accurate --
    ·8· · · · A.· · I disagree because I believe that we
    ·9· ·did our jobs.
    10· · · · Q.· · I will represent to you that the
    11· ·statements I asked you whether you agree or
    12· ·disagree were substantially identical to
    13· ·statements made by The Wall Street Journal, The
    14· ·New York Times and the District Judge presiding
    15· ·over this case in an Order filed in the public
    16· ·record.
    17· · · · · · · MS. BOLGER:· I object to that
    18· ·characterization.
    19· · · · Q.· · Assume just for purposes of this
    20· ·question that my representation that those
    21· ·statements were made by those sources are
    22· ·accurate, would that affect your opinion in any
    23· ·way of whether your broadcast at issue did, in
    24· ·fact, present a fair and accurate report of the
    25· ·moment of the day?

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    ·2· · · · · · · MS. BOLGER:· Objection to the form.
    ·3· · · · A.· · No, it wouldn't because we are -- CNN
    ·4· ·is an independent news organization, we make our
    ·5· ·own decisions, so no, a decision or different
    ·6· ·point of view by the editorial board of The Wall
    ·7· ·Street Journal or New York Times, any judge, would
    ·8· ·not influence how we see things or how we cover
    ·9· ·them.
    10· · · · Q.· · Having reviewed transcripts and watched
    11· ·videos in preparing for this deposition, and been
    12· ·presented with various exhibits throughout this
    13· ·deposition, if you had the chance to go back and
    14· ·do it all over again would you have done anything
    15· ·differently?
    16· · · · A.· · No, I think we did a very good job, our
    17· ·jobs -- I know I keep saying this but I think it
    18· ·is important to emphasize -- our jobs are in the
    19· ·moment, right, history is an unfolding document
    20· ·and people write books about things that happen
    21· ·over long periods of time. Our job is to chronicle
    22· ·and cover what happens in the moment, and to
    23· ·provide the context as best we can around that.
    24· ·As part of that we add people to conversations to
    25· ·provide and inform points of view.· So that's what

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    ·2· ·we do and ultimately that's what we strive to do
    ·3· ·as best we can, and I think we did that here.
    ·4· · · · · · · MR. SCHWEIKERT:· I am going to adjourn
    ·5· ·because I believe there were some improper
    ·6· ·instructions not to answer relevant questions that
    ·7· ·are seeking information which in my experience is
    ·8· ·often presented to a jury during trials as
    ·9· ·evidence of credibility, but your lawyer has
    10· ·instructed you not to provide that information so
    11· ·I will be seeking a ruling requiring you to answer
    12· ·that question, and it's possible that I may have
    13· ·some follow-ups to the extent that information
    14· ·leads me to places.· And I also --
    15· · · · · · · MS. BOLGER:· And the question?
    16· · · · · · · MR. SCHWEIKERT:· Hold on.· And I also,
    17· ·as I reminded Ms. Bolger for what must be the
    18· ·fortieth time, that I have been very challenged by
    19· ·the virtually endless speaking objections, which I
    20· ·believe, could be construed as an attempt to
    21· ·influence the testimony of a witness who has taken
    22· ·an oath and sworn to tell the truth, and I
    23· ·continue to believe that my client is entitled to
    24· ·truthful answers without being influenced in any
    25· ·way by statements made by her lawyer that should

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    ·2· ·not have been made, and therefore, to the extent I
    ·3· ·obtain a ruling on any of these issues that
    ·4· ·requires you to re-appear, I am reserving the
    ·5· ·right to ask additional questions.
    ·6· · · · · · · MS. BOLGER:· Mr. Schweikert, I think
    ·7· ·that the only question I told the witness not to
    ·8· ·answer was her salary.· I want the record to
    ·9· ·reflect the only question I told her not to answer
    10· ·was her salary.
    11· · · · · · · MR. SCHWEIKERT:· The witness, who is
    12· ·employed by the defendant and providing testimony
    13· ·on behalf of the defendant, has been instructed
    14· ·not to answer a simple question about the amount
    15· ·of compensation she is paid for her work so that
    16· ·the jury may consider that information in weighing
    17· ·whether the answers to her questions should be
    18· ·considered credible or not credible, and whether
    19· ·she may be influenced by the fact that she is
    20· ·compensated by the defendant for the work she
    21· ·does.· So yes, that is the question that you
    22· ·instructed the witness not to answer which I take
    23· ·issue with; I will tender the witness.
    24· · · · · · · MS. BOLGER:· First of all, I will
    25· ·designate the transcript as confidential, the

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    ·2· ·entire transcript is confidential pursuant to the
    ·3· ·protective order because CNN's confidential
    ·4· ·documents were discussed during this deposition.
    ·5· · · · · · · · · · ·EXAMINATION BY
    ·6· ·MS. BOLGER:
    ·7· · · · Q.· · Ms. Burnett, does your salary in any
    ·8· ·way affect what you say or do on air at CNN?
    ·9· · · · A.· · No.
    10· · · · Q.· · Ms. Burnett, have I told you at any
    11· ·point throughout the course of this deposition --
    12· · · · · · · MR. SCHWEIKERT:· I object to the form.
    13· · · · Q.· · -- otherwise how to answer a single
    14· ·question during this deposition?
    15· · · · A.· · No.
    16· · · · · · · MS. BOLGER:· I have no further
    17· ·questions.
    18· · · · · · · · · · ·EXAMINATION BY
    19· ·MR. SCHWEIKERT:
    20· · · · Q.· · So what is your salary ma'am?
    21· · · · · · · MS. BOLGER:· She's not going to answer
    22· ·the question; it's not relevant.
    23· · · · · · · MR. SCHWEIKERT:· Hold on, you just
    24· ·asked her a leading question to say under oath
    25· ·that some unknown amount of compensation has no

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    ·2· ·influence on the things she has said today, and I
    ·3· ·believe in the proper context, which we know is
    ·4· ·important, it would be reasonable to understand
    ·5· ·what is the amount of that compensation.· Whether
    ·6· ·it is a lot of money to her or not is besides the
    ·7· ·point; it is for the jury to weigh the evidence in
    ·8· ·making the findings on the claims that are at
    ·9· ·issue.· And --
    10· · · · · · · MS. BOLGER:· Mr. Schweikert, you --
    11· · · · · · · MR. SCHWEIKERT:· -- if you want to
    12· ·continue to instruct the witness not to answer
    13· ·what is basically one of the most basic questions
    14· ·asked of virtually every witness that testifies on
    15· ·behalf of their employer, that is your
    16· ·prerogative, but I am reserving the right to
    17· ·unfortunately ask Ms. Burnett to re-appear to
    18· ·answer those questions, and any other questions I
    19· ·am permitted once the court has given full
    20· ·consideration to the record created by the
    21· ·depositions in this case.
    22· · · · · · · MS. BOLGER:· Erin, don't tell him your
    23· ·salary.
    24· · · · · · · MR. SCHWEIKERT:· Ms. Burnett, I thank
    25· ·you for your patience, and it was a pleasure

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    ·2· ·meeting you despite the uncomfortable nature of
    ·3· ·the circumstances.
    ·4· · · · · · · THE VIDEOGRAPHER:· Ms. Bolger, would
    ·5· ·you like a copy of the video?
    ·6· · · · · · · MS. BOLGER:· Yes, please.
    ·7· · · · · · · THE STENOGRAPHER:· Do you need a copy
    ·8· ·of the transcript, Ms. Bolger?
    ·9· · · · · · · MS. BOLGER:· Yes, I do.
    10· · · · · · · THE VIDEOGRAPHER:· This concludes the
    11· ·deposition of Erin Burnett in the matter of
    12· ·Dershowitz vs. Cable News Network Inc. We are now
    13· ·off the record, the time is 2:01 p.m. Eastern
    14· ·time.
    15· · · · · · · (Time Noted:· 2:01 p.m.)
    16
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    ·1
    ·2· · · · · · · · · C E R T I F I C A T E
    ·3
    ·4· ·STATE OF NEW YORK· · )
    ·5· · · · · · · · · · · · : ss.
    ·6· ·COUNTY OF NEW YORK· ·)
    ·7
    ·8· · · · · · · I, ELLEN SANDLES, a Notary Public and
    ·9· ·Stenographic Reporter within and for the State of
    10· ·New York, do hereby certify:
    11· · · · · · · That ERIN BURNETT, the witness whose
    12· ·deposition is hereinbefore set forth, was duly
    13· ·sworn by me and that such deposition is a true
    14· ·record of the testimony given by the witness.
    15· · · · · · · I further certify that I am not related
    16· ·to any of the parties to this action by blood or
    17· ·marriage, and that I am in no way interested in
    18· ·the outcome of this matter.
    19· · · · · · · IN WITNESS WHEREOF, I have hereunto set
    20· ·my hand this 8th day of August, 2022.
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    22· · · · · · · · · · · · · ·_____________________
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